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                            UNITED STATES COURT OF INTERNATIONAL TRADE

              PRINCESS AWESOME, LLC, ET AL.,

                               Plaintiffs,
                                                                      COURT NO. 25-00078
                       v.

              UNITED STATES CUSTOMS AND BORDER
              PROTECTION; ET AL.,

                               Defendants.


                                     DECLARATION OF REBECCA MELSKY

                     I, Rebecca Melsky, pursuant to 28 U.S.C. § 1746, declare as follows:

                     1.       I am the co-founder, with Eva St. Clair, and Chief Executive Officer of

             Princess Awesome, LLC, a Plaintiff in this matter.

                     2.       Princess Awesome is a children and adult clothing company founded in

             2013 and headquartered in Maryland.

                     3.       We began our business in response to the thematic divide between girls’

             and boys’ clothes. We sought to bring to market clothes that provided a greater array

             of designs for boys and girls. We completed our first factory production and opened

             our online store in 2015.

                     4.       Today, Princess Awesome imports clothes monthly from Bangladesh

             China, India, and Peru.

                     5.       These imports are subject to the new tariffs announced in Executive

             Order 14195, Imposing Duties to Address the Synthetic Opioid Supply Chain in the

             People’s Republic of China, 90 Fed. Reg. 9121 (Feb. 7, 2025), Executive Order 14228,
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             Further Amendment to Duties Addressing the Synthetic Opioid Supply Chain in the

             People’s Republic of China, 90 Fed. Reg. 11,463 (Mar. 7, 2025), Executive Order

             14257, Regulating Imports With A Reciprocal Tariff To Rectify Trade Practices That

             Contribute To Large and Persistent Annual United States Goods Trade Deficits, 90

             Fed. Reg. 15,041 (Apr. 2, 2025), Executive Order 14266, Modifying Reciprocal Tariff

             Rates to Reflect Trading Partner Retaliation And Alignment, 90 Fed. Reg. 15,625

             (Apr. 15, 2025); and Joint Statement on U.S.-China Economic and Trade Meeting in

             Geneva (May 12, 2025), https://perma.cc/5CRS-D53A.

                     6.       On October 21, 2024, Princess Awesome’s manufacturer in China

             started production on a batch of our Dino Busy Dresses. This production began before

             promulgation of Executive Order 14195, which imposed a 10% ad valorem rate of duty

             on all articles produced in China, and Executive Order 14228, which raised the ad

             valorem rate of duty on articles imported from China to 20%.

                     7.       The shipment of these Dino Busy Dresses was imported on March 14,

             2025, and subject to a 20% ad valorem rate of duty promulgated by Executive Order

             14228.

                     8.       On March 14, 2025, Princess Awesome paid $1,658.40 in tariffs

             pursuant to Executive Order 14228 on the shipment of the Dino Busy Dresses.

                     9.       On December 12, 2024, Princess Awesome’s Chinese manufacturer

             started production on a batch of our popular Sword and Cape Dresses with a total

             production cost of $5,208.00. This production began before promulgation of Executive

             Order 14195, which imposed a 10% ad valorem rate of duty on all articles produced



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             in China, and Executive Order 14228, which raised the ad valorem rate of duty on

             articles imported from China to 20%.

                     10.      When the Sword and Cape Dresses were ready to ship, however, we had

             not yet decided whether to ship the products to the United States via sea or air. Sea

             shipping typically takes six weeks and costs $300, whereas air shipping takes one

             week but costs $1400. Due to the increased and uncertain changes to the tariffs, we

             decided to choose the more expensive option of air shipping in order to avoid increased

             tariffs beyond the additional 20% ad valorem rate of duty that was being levied at the

             time.

                     11.      The shipment of girls’ dresses was imported on March 23, 2025, and

             subject to a 20% ad valorem rate of duty pursuant to Executive Order 14228.

                     12.      As a result, on April 18, 2025, Princess Awesome paid $1,041.40 in

             tariffs pursuant to Executive Order 14228 on the shipment of the Sword and Cape

             Dresses.

                     13.       On December 12, 2024, Princess Awesome’s manufacturer in Peru

             started production on a line of girls’ and women’s clothing. This production began

             before promulgation of Executive Order 14257, which imposed an ad valorem duty at

             10% for all trading partners.

                     14.      On April 19, 2025, Princess Awesome received an entry summary from

             Customs for tariffs, including a tariff at 10% ad valorem rate of duty pursuant to

             Executive Order 14257 for the shipment of the girls’ and women’s clothing described

             in the previous paragraph, totaling $1,873.30. Princess Awesome expects to provide



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             payment for this tariff by the end of May 2025.

                     15.      If tariffs remain at current levels, Princess Awesome will be subject to

             tens of thousands of dollars in increased costs to import our clothing.

                     16.      At this time, we are attempting to ship the remainder of our products

             that are in production in Bangladesh and India before the 90-day pause on the

             additional discounted reciprocal tariffs of 37% and 26% respectively expires.

             Executive Order 14257, Regulating Imports With A Reciprocal Tariff To Rectify Trade

             Practices That Contribute To Large and Persistent Annual United States Goods Trade

             Deficits, 90 Fed. Reg. 15,041 (Apr. 2, 2025); Executive Order 14266, Modifying

             Reciprocal Tariff Rates to Reflect Trading Partner Retaliation And Alignment, 90 Fed.

             Reg. 15,625 (Apr. 15, 2025).

                     17.      To do this, we would need to ship the products via air from Bangladesh,

             which will cost $5,000–$6,000 more than sea shipping, our normal business practice.

                     18.      As a direct result of the new tariffs, we have also cancelled all production

             of our leggings in China this year. This negatively impacts our business because we

             already licensed art for the leggings and budgeted for a kids’ and adult legging

             expansion in 2025. But we cannot afford a 145% tariff on these leggings. See Joint

             Statement on U.S.-China Economic and Trade Meeting in Geneva (May 12, 2025),

             https://perma.cc/5CRS-D53A (lasting only 90 days).

                     19.      The uncertainty caused by the tariff increases have substantially

             impacted our business as it is difficult to assess what we can budget for, how we

             should ship our products, and what adjustments to our business practices are



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             necessary to accommodate these ever-changing, yet wildly impactful tariff changes.

                     20.      As a direct result of these uncertain tariff increases, Princess Awesome

             must consider all options for future imports including cancelling or pausing orders,

             discontinuing certain product lines, raising prices, transferring production to other

             countries, storing goods, utilizing expedited shipping, and prematurely maximizing

             orders beyond current inventory need to avoid additional increases in the future.

                     21.      Attached hereto are the following true and correct copies of the

             aforementioned invoices and proof of tariff payment:

                              Ex. 1: Customs Entry Summary (Mar. 26, 2025)

                              Ex. 2: Check to Deltamax Customs Service (Mar. 14, 2025)

                              Ex. 3: Customs Entry Summary (Mar. 23, 2025)

                              Ex. 4: Check to Deltamax Customs Service (Apr. 18, 2025)

                              Ex. 5: Customs Entry Summary (Apr. 19, 2025)

                     22.      I declare under penalty of perjury that the foregoing is true and correct.

             Executed on May 13, 2025, within the United States.




                                                                      /s/
                                                                      REBECCA MELSKY




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                                              EXHIBIT 4
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                                            Case 1:25-cv-00078-3JP   Document 10-1   Filed 05/13/25   Page 15 of 187
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                 Case 1:25-cv-00078-3JP              Document 10-1   Filed 05/13/25   Page 16 of 187




                                              EXHIBIT 5
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                           UNITED STATES COURT OF INTERNATIONAL TRADE

              PRINCESS AWESOME, LLC, ET AL.,

                               Plaintiffs,
                                                                    COURT NO. 25-00078
                      v.

              UNITED STATES CUSTOMS AND BORDER
              PROTECTION; ET AL.,

                               Defendants.

                                    DECLARATION OF JAMEY STEGMAIER

                     I, Jamey Stegmaier, pursuant to 28 U.S.C. § 1746, declare as follows:

                     1.      I am co-founder and owner of Stonemaier Games, LLC, a Plaintiff in this

            matter.

                     2.      Stonemaier Games, headquartered in Missouri, is a tabletop game

            publisher.

                     3.      Stonemaier Games publishes multiple tabletop games including the

            popular award-winning game, Wingspan.

                     4.      Since 2012, Stonemaier has partnered with Panda, a Canadian company

            with its main manufacturing facility in Shenzhen, China, to publish our games. We

            typically import our products multiple times per year.

                     5.      In 2024, Stonemaier Games spent over $10,000,000 in production costs.

                     6.      In January 2025, Stonemaier Games’ manufacturer in China started

            production on over 250,000 units of product for our games. The agreements required

            Stonemaier Games to pay 50% of the total price at the start of production, with 50%

            due upon completion.
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                     7.      Stonemaier Games paid an initial deposit of $479,901.00 on

            December 23, 2025, and another initial deposit of $1,498,286.29 on February 24,

            2025, prior to promulgation of Executive Order 14228 and Executive Order 14266,

            which together raised tariffs on goods imported from China to 145%. See Executive

            Order 14228, Further Amendment to Duties Addressing the Synthetic Opioid Supply

            Chain in the People’s Republic of China, 90 Fed. Reg. 11,463 (Mar. 7, 2025); Executive

            Order 14266, Modifying Reciprocal Tariff Rates to Reflect Trading Partner

            Retaliation And Alignment, 90 Fed. Reg. 15,625 (Apr. 15, 2025). True and correct

            copies of the invoice and proof of payment for these deposits are attached to this

            Declaration as Exhibits 1 and 2, respectively.

                     8.      The estimated shipment date of both orders is May 2025.

                     9.      As of the date of this Declaration, should Stonemaier Games proceed

            with the shipment in full, we anticipate a tariff at 30% ad valorem rate of duty. See

            Joint Statement on U.S.-China Economic and Trade Meeting in Geneva (May 12,

            2025), https://perma.cc/5CRS-D53A.

                     10.     Despite the unforeseen increased tariff costs, Stonemaier Games must

            proceed with this May shipment for products that are out of stock and products that

            were prepared for first-time release. For other products intended for the United

            States, however, Stonemaier Games is considering other options to avoid the tariff

            increases associated with a May shipment. These options include storing the product

            in China and sending other products to Canada for temporary storage—neither of

            which is cost-free.




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                     11.     If Stonemaier Games cannot financially cover the tariffs for goods

            scheduled for import, Stonemaier Games will lose the deposits already made and

            forgo revenue and profits on the future sale of those products.

                     12.     Because each of Stonemaier Games’ products has a run time of

            approximately five months, most product distribution for the remainder of the year

            was scheduled before the new tariffs were imposed. Stonemaier Games usually orders

            its productions for holiday sales in the Spring but the uncertainty created by the

            changing tariffs makes these decisions extremely difficult.

                     13.     Switching manufacturers is not a viable option. Existing game

            manufacturers in the United States are not capable of making the full range of

            components available from factories in China. Further, Stonemaier Games prides

            itself on producing consistent quality. It would take time to find the same level of

            manufacturing that we have received for years from Panda. Producing the same level

            of quality domestically would be financially impossible. Finally, due to lead times, the

            earliest we could accomplish a manufacturer switch would be for products

            manufactured in 2026. In the meantime, we would be subject to the tariff increases,

            which as discussed above, are already financially unviable.

                     14.     For our holiday 2025 print runs specifically, Stonemaier Games needs

            to order imminently; there is not enough time to find a new manufacturer. But

            because Stonemaier Games cannot afford the increased tariffs, it intends to have a

            substantially decreased holiday print run as a result.

                     15.     Stonemaier Games cannot sustain business with tariffs upwards of




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            145%. See Joint Statement on U.S.-China Economic and Trade Meeting in Geneva

            (May 12, 2025), https://perma.cc/5CRS-D53A (lasting only 90 days). We are

            considering all options to ensure that we can continue business. We will need to

            increase prices enough to break even, especially considering United States retailers

            receive a large discount when we sell to them. Due to these increases, however, we

            expect fewer sales to retailers, which would have a massive impact on our business

            as 55% of our sales in 2024 were to distributors and retailers. We are also considering

            an option for customers to provide a “tariff tip” on our webstore, if it is within their

            means to help cover our tariff costs.

                     16.      As a direct result of these uncertain tariff increases, Stonemaier Games

            must consider all options for future imports including cancelling or pausing orders,

            raising prices, transferring production to other countries, storing goods, utilizing

            expedited shipping, and prematurely maximizing orders beyond current inventory

            need to avoid additional increases in the future.

                           Ex. 1: Invoice and Deposit for Vantage (Dec. 23, 2024)

                           Ex. 2: Invoice and Deposit for Assorted Games (Feb. 24, 2025)

                     17.      I declare under penalty of perjury that the foregoing is true and correct.

            Executed on May 12, 2025, within the United States.




                                                                    /s/
                                                                    JAMEY STEGMAIER




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                 Case 1:25-cv-00078-3JP             Document 10-1   Filed 05/13/25   Page 23 of 187




                                             EXHIBIT 1
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                         Stonemaier                     Document
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                                                                                  for Vantage,            Page
                                                                                               Vantage Metal       24 Vantage
                                                                                                             Coin Sets, of 187Upgrade Pack & …

                                                                                                                                                                 Jamey Stegmaier



   PAYMENT RECEIVED: 4 Deposit Invoices for Vantage, Vantage Metal Coin Sets, Vantage Upgrade Pack & Rolling Realms Promo
   Pack
   1 message

   invoice@pandagm.com <invoice@pandagm.com>
   To: Jamey Stegmaier
   Cc: Shannon Lentz




     Hi Jamey,

     This is to confirm that we have received the payment for the invoices listed in the email below. Thank you for your prompt payment!

     Best regards,
     Steven
     Panda Finance




     From: invoice@pandagm.com <invoice@pandagm.com>
     Sent: Monday, December 23, 2024 6:12 PM
     To: 'Jamey Stegmaier'
     Cc: 'Shannon Lentz'
     Subject: 4 Deposit Invoices for Vantage, Vantage Metal Coin Sets, Vantage Upgrade Pack & Rolling Realms Promo Pack




     Hi Jamey,

     Your deposit invoices are ready for download (see table below).

     Please note that we have included credit for the overpayment of $8,640.00 from invoice 9246-SL24095 paid on Dec 3, 2024.The total amount for this batch of invoices would be $479,901.00.

     To help us allocate the funds properly, please include the invoice number in the memo section of the wire payment.

     If you have any questions or concerns on the payment, please do not hesitate to contact us at invoice@pandagm.com.

     Thanks!

     Best regards,
     Steven
     Panda Finance




           Invoice No          Invoice Type   Project Name                                                            Notes      Invoice Amount   Invoice Date    Due Date   Link to pdf




           9334-18SZQ1307 Deposit             Vantage - 1                                                             STM950 $444,821.00          23-Dec-2024 30-Dec-2024 https://drive.google.com/file/d/10u



           9314-SL24091        Deposit        Vantage Upgrade Pack 01                                                 STM953 $17,300.00           23-Dec-2024 30-Dec-2024 https://drive.google.com/file/d/1uS



           9313-SL24124        Deposit        Vantage Metal Coin Sets 2                                               STM951 $25,670.00           23-Dec-2024 30-Dec-2024 https://drive.google.com/file/d/12N



           9304-SL24123        Deposit        Rolling Realms Promo Pack 11                                            STM499 $750.00              23-Dec-2024 30-Dec-2024 https://drive.google.com/file/d/1ZO



                                              Credit for overpayment from 9246-SL24095 paid on Dec 3, 2024                       $ (-8,640.00)



                                              Total                                                                              $479,901.00




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                                                                                               Vantage Metal       25 Vantage
                                                                                                             Coin Sets, of 187Upgrade Pack & …




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                                             EXHIBIT 2
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                                                                                                        INVOICE     187 games
                                                                                                                for various


                                                                                                                                                               Jamey Stegmaier



   PAYMENT RECEIVED: 33 DEPOSIT INVOICES and 1 FINAL INVOICE for various games
   2 messages

   invoice@pandagm.com <invoice@pandagm.com>
   To: Jamey Stegmaier
   Cc:




     Hi Jamey,

     Sorry for the missing confirmation, this is to confirm that we have received the payment for the invoices below, amounting to USD 1,498,286.29 in total, on 25th Feb 2025.

     Thank you for the prompt payment for that batch of invoices.

     Regards,
     Tony
     Panda Finance




     From: Jamey Stegmaier
     Sent: Saturday, 10 May 2025 11:07 am
     To: invoice@pandagm.com
     Subject: Re: 33 DEPOSIT INVOICES and 1 FINAL INVOICE for various games


     Hi, I was looking back through my emails, and I can't find a "payment received" confirmation email for this big payment in late February. Can you please confirm that it was received?



     Thanks,

     Jamey



     On Mon, Feb 24, 2025 at 7:44 AM <invoice@pandagm.com> wrote:




                                                                                                                                                     Hi Jamey,

                                                                                                                                                     Your deposit and final invoice are ready for download (see

                                                                                                                                                     Please wire all payments in USD as per Invoice Amount to

                                                                                                                                                     If it is going to be paid through SWIFT, international wire t
                                                                                                                                                     pays all fees” or “Sender bears all transaction fees” which
                                                                                                                                                     and any charges applied by intermediary bank to ensure t
                                                                                                                                                     Invoice, otherwise the amount we received would be less

                                                                                                                                                     If you have any questions or concerns on the payment, pl
                                                                                                                                                     invoice@pandagm.com.

                                                                                                                                                     Regards,
                                                                                                                                                     Tony
                                                                                                                                                     Panda Finance




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                                                                                                        INVOICE     187 games
                                                                                                                for various

            Invoice No   Invoice Type   Project Name                                                  Notes      Invoice Amount   Invoice Date   Due Date   Link to pdf




            9577-SL25027 Deposit        Finspan NL 2 + PT 1                                           STM870     $46,767.64       24-Feb-2025 3-Mar-2025 https://drive.google.com/file/d



            9576-SL24078 Deposit        Smitten 2 - EN 01                                             STM651     $5,865.00        24-Feb-2025 3-Mar-2025 https://drive.google.com/file/d



            9575-SL24118 Deposit        Tokaido NL 1 + HU 1                                           STM275     $11,182.51       24-Feb-2025 3-Mar-2025 https://drive.google.com/file/d



            9569-SL25021 Deposit        Wyrmspan EN 10 + INT                                          STM850     $364,465.79      24-Feb-2025 3-Mar-2025 https://drive.google.com/file/d



            9566-SL25013 Deposit        Scythe EN 30 + INT                                            STM600     $138,012.50      24-Feb-2025 3-Mar-2025 https://drive.google.com/file/d



            9565-SL25030 Deposit        Scythe Expansion Combat Dials 13                              STM619     $577.50          24-Feb-2025 3-Mar-2025 https://drive.google.com/file/d



            9564-SL25029 Deposit        Scythe Combat Dials 14                                        STM616     $878.75          24-Feb-2025 3-Mar-2025 https://drive.google.com/file/d



            9562-SL25019 Deposit        Scythe Promo Pack EN 3 + RU 1                                 STM644     $733.00          24-Feb-2025 3-Mar-2025 https://drive.google.com/file/d



            9557-SL25031 Deposit        Scythe Metal Promo $50 15                                     STM617     $773.50          24-Feb-2025 3-Mar-2025 https://drive.google.com/file/d



            9544-SL25025 Deposit        Finspan EN 2                                                  STM870     $154,200.00      24-Feb-2025 3-Mar-2025 https://drive.google.com/file/d



            9540-SL25017 Deposit        Scythe The Rise of Fenris RU 4 + HU 2                         STM637     -$4,140.00       24-Feb-2025 3-Mar-2025 https://drive.google.com/file/d



            9533-SL25018 Deposit        Scythe Encounters RU 4 + PL 3                                 STM641     -$3,180.00       24-Feb-2025 3-Mar-2025 https://drive.google.com/file/d



            9530-SL25016 Deposit        Scythe The Wind Gambit RU 6 + INT                             STM631     $696.25          24-Feb-2025 3-Mar-2025 https://drive.google.com/file/d



            9529-SL25015 Deposit        Scythe Invaders from Afar RU 8 + INT                          STM615     $605.00          24-Feb-2025 3-Mar-2025 https://drive.google.com/file/d



            9527-SL25015 Deposit        Scythe Invaders from Afar RU 8 + INT                          STM615     $3,785.00        24-Feb-2025 3-Mar-2025 https://drive.google.com/file/d



            9525-SL25024 Deposit        Scythe & Expeditions $2 & $50 Coins 2                         STM662     $1,100.00        24-Feb-2025 3-Mar-2025 https://drive.google.com/file/d



            9522-SL25028 Deposit        Finspan School Token Pack - 01                                STM872     $2,075.00        24-Feb-2025 3-Mar-2025 https://drive.google.com/file/d



            9521-SL24125 Deposit        Tapestry - Revised, Adjusted, Rebalanced Civilization Pack DE 1 STM155   $2,340.00        24-Feb-2025 3-Mar-2025 https://drive.google.com/file/d



            9520-SL25022 Deposit        Wyrmspan Enamel Pins 02                                       STM855     $5,850.00        24-Feb-2025 3-Mar-2025 https://drive.google.com/file/d



            9519-SL25023 Deposit        Apiary Expanding the Hive DE 1                                STM751     $4,900.00        24-Feb-2025 3-Mar-2025 https://drive.google.com/file/d



            9518-SL25020 Deposit        Apiary DE 3                                                   STM750     $16,520.00       24-Feb-2025 3-Mar-2025 https://drive.google.com/file/d



            9517-SL25015 Deposit        Scythe Invaders from Afar RU 8 + INT                          STM615     $11,355.00       24-Feb-2025 3-Mar-2025 https://drive.google.com/file/d



            9516-SL25014 Deposit        Scythe Board Extension 22                                     STM607     $2,310.00        24-Feb-2025 3-Mar-2025 https://drive.google.com/file/d



            9515-SL24107 Deposit        Rolling Realms CN 1                                           STM450     $3,390.00        24-Feb-2025 3-Mar-2025 https://drive.google.com/file/d



            9514-SL25012 Deposit        Rolling Realms Promo Pack CN 1                                           $1,950.00        24-Feb-2025 3-Mar-2025 https://drive.google.com/file/d



            9512-SL25011 Deposit        Wingspan Asia Expansion EN 9 + FI 2                           STM906     $23,090.00       24-Feb-2025 3-Mar-2025 https://drive.google.com/file/d



            9511-SL25006 Deposit        Wingspan Golden Eggs 3                                        STM932     $8,925.00        24-Feb-2025 3-Mar-2025 https://drive.google.com/file/d



            9510-SL25009 Deposit        Wingspan Speckled Eggs - 9                                    STM904     $3,150.00        24-Feb-2025 3-Mar-2025 https://drive.google.com/file/d



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                                                                                                                for various

                              9508-SL25008 Deposit   Wingspan Europe Expansion EN 23 + INT                             STM901         $34,002.71      24-Feb-2025 3-Mar-2025 https://drive.google.com/file/d



                              9507-SL25005 Deposit   Wingspan EN 34 + INT                                              STM910         $500,852.04     24-Feb-2025 3-Mar-2025 https://drive.google.com/file/d



                              9506-SL25002 Deposit   Wyrmspan EN 9                                                     STM850         $34,366.50      24-Feb-2025 3-Mar-2025 https://drive.google.com/file/d



                              9505-SL25003 Deposit   Wingspan EN 33                                                    STM910         $64,071.00      24-Feb-2025 3-Mar-2025 https://drive.google.com/file/d



                              9504-SL25010 Deposit   Wingspan Oceania Expansion EN 15 + INT                            STM903         $53,991.60      24-Feb-2025 3-Mar-2025 https://drive.google.com/file/d



                              9499-SL24067 Final     Expeditions Map Token Upgrade Pack 01                             STM671         $2,825.00       24-Feb-2025 3-Mar-2025 https://drive.google.com/file/d



                                                     Total:                                                                           $1,498,286.29


       –‒–‒‐–––‒‒–‒‑‐‐‑‒—–‐




   Jamey Stegmaier
   To: invoice@pandagm.com

     Thank you!

     On Mon, May 12, 2025 at 2:59 AM <invoice@pandagm.com> wrote:




       Hi Jamey,

       Sorry for the missing confirmation, this is to confirm that we have received the payment for the invoices below, amounting to USD 1,498,286.29 in total, on 25th Feb 2025.

       Thank you for the prompt payment for that batch of invoices.

       Regards,
       Tony
       Panda Finance




       From: Jamey Stegmaier
       Sent: Saturday, 10 May 2025 11:07 am
       To: invoice@pandagm.com
       Subject: Re: 33 DEPOSIT INVOICES and 1 FINAL INVOICE for various games


       Hi, I was looking back through my emails, and I can't find a "payment received" confirmation email for this big payment in late February. Can you please confirm that it was received?



       Thanks,

       Jamey



       On Mon, Feb 24, 2025 at 7:44 AM <invoice@pandagm.com> wrote:




                                                                                                                                                       Hi Jamey,

                                                                                                                                                       Your deposit and final invoice are ready for download (s

                                                                                                                                                       Please wire all payments in USD as per Invoice Amoun


 https://mail.google.com/mail/u/0/?ik=7f2f0a05b8&view=pt&search=all&permthid=thread-f:1831900840039116427&simpl=msg-f:183190084003911642…                                                                  3/5
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                                                                                                                                    If it is going to be paid through SWIFT, international wire
                                                                                                                                    pays all fees” or “Sender bears all transaction fees” whi
                                                                                                                                    and any charges applied by intermediary bank to ensur
                                                                                                                                    Invoice, otherwise the amount we received would be les

                                                                                                                                    If you have any questions or concerns on the payment,
                                                                                                                                    invoice@pandagm.com.

                                                                                                                                    Regards,
                                                                                                                                    Tony
                                                                                                                                    Panda Finance




              Invoice No   Invoice Type   Project Name                                                  Notes      Invoice Amount    Invoice Date   Due Date     Link to pdf




              9577-SL25027 Deposit        Finspan NL 2 + PT 1                                           STM870     $46,767.64        24-Feb-2025 3-Mar-2025 https://drive.google.com/file



              9576-SL24078 Deposit        Smitten 2 - EN 01                                             STM651     $5,865.00         24-Feb-2025 3-Mar-2025 https://drive.google.com/file



              9575-SL24118 Deposit        Tokaido NL 1 + HU 1                                           STM275     $11,182.51        24-Feb-2025 3-Mar-2025 https://drive.google.com/file



              9569-SL25021 Deposit        Wyrmspan EN 10 + INT                                          STM850     $364,465.79       24-Feb-2025 3-Mar-2025 https://drive.google.com/file



              9566-SL25013 Deposit        Scythe EN 30 + INT                                            STM600     $138,012.50       24-Feb-2025 3-Mar-2025 https://drive.google.com/file



              9565-SL25030 Deposit        Scythe Expansion Combat Dials 13                              STM619     $577.50           24-Feb-2025 3-Mar-2025 https://drive.google.com/file



              9564-SL25029 Deposit        Scythe Combat Dials 14                                        STM616     $878.75           24-Feb-2025 3-Mar-2025 https://drive.google.com/file



              9562-SL25019 Deposit        Scythe Promo Pack EN 3 + RU 1                                 STM644     $733.00           24-Feb-2025 3-Mar-2025 https://drive.google.com/file



              9557-SL25031 Deposit        Scythe Metal Promo $50 15                                     STM617     $773.50           24-Feb-2025 3-Mar-2025 https://drive.google.com/file



              9544-SL25025 Deposit        Finspan EN 2                                                  STM870     $154,200.00       24-Feb-2025 3-Mar-2025 https://drive.google.com/file



              9540-SL25017 Deposit        Scythe The Rise of Fenris RU 4 + HU 2                         STM637     -$4,140.00        24-Feb-2025 3-Mar-2025 https://drive.google.com/file



              9533-SL25018 Deposit        Scythe Encounters RU 4 + PL 3                                 STM641     -$3,180.00        24-Feb-2025 3-Mar-2025 https://drive.google.com/file



              9530-SL25016 Deposit        Scythe The Wind Gambit RU 6 + INT                             STM631     $696.25           24-Feb-2025 3-Mar-2025 https://drive.google.com/file



              9529-SL25015 Deposit        Scythe Invaders from Afar RU 8 + INT                          STM615     $605.00           24-Feb-2025 3-Mar-2025 https://drive.google.com/file



              9527-SL25015 Deposit        Scythe Invaders from Afar RU 8 + INT                          STM615     $3,785.00         24-Feb-2025 3-Mar-2025 https://drive.google.com/file



              9525-SL25024 Deposit        Scythe & Expeditions $2 & $50 Coins 2                         STM662     $1,100.00         24-Feb-2025 3-Mar-2025 https://drive.google.com/file



              9522-SL25028 Deposit        Finspan School Token Pack - 01                                STM872     $2,075.00         24-Feb-2025 3-Mar-2025 https://drive.google.com/file



              9521-SL24125 Deposit        Tapestry - Revised, Adjusted, Rebalanced Civilization Pack DE 1 STM155   $2,340.00         24-Feb-2025 3-Mar-2025 https://drive.google.com/file



              9520-SL25022 Deposit        Wyrmspan Enamel Pins 02                                       STM855     $5,850.00         24-Feb-2025 3-Mar-2025 https://drive.google.com/file



              9519-SL25023 Deposit        Apiary Expanding the Hive DE 1                                STM751     $4,900.00         24-Feb-2025 3-Mar-2025 https://drive.google.com/file



              9518-SL25020 Deposit        Apiary DE 3                                                   STM750     $16,520.00        24-Feb-2025 3-Mar-2025 https://drive.google.com/file



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                                                                                                                for various

                               9517-SL25015 Deposit   Scythe Invaders from Afar RU 8 + INT     STM615   $11,355.00      24-Feb-2025 3-Mar-2025 https://drive.google.com/file



                               9516-SL25014 Deposit   Scythe Board Extension 22                STM607   $2,310.00       24-Feb-2025 3-Mar-2025 https://drive.google.com/file



                               9515-SL24107 Deposit   Rolling Realms CN 1                      STM450   $3,390.00       24-Feb-2025 3-Mar-2025 https://drive.google.com/file



                               9514-SL25012 Deposit   Rolling Realms Promo Pack CN 1                    $1,950.00       24-Feb-2025 3-Mar-2025 https://drive.google.com/file



                               9512-SL25011 Deposit   Wingspan Asia Expansion EN 9 + FI 2      STM906   $23,090.00      24-Feb-2025 3-Mar-2025 https://drive.google.com/file



                               9511-SL25006 Deposit   Wingspan Golden Eggs 3                   STM932   $8,925.00       24-Feb-2025 3-Mar-2025 https://drive.google.com/file



                               9510-SL25009 Deposit   Wingspan Speckled Eggs - 9               STM904   $3,150.00       24-Feb-2025 3-Mar-2025 https://drive.google.com/file



                               9508-SL25008 Deposit   Wingspan Europe Expansion EN 23 + INT    STM901   $34,002.71      24-Feb-2025 3-Mar-2025 https://drive.google.com/file



                               9507-SL25005 Deposit   Wingspan EN 34 + INT                     STM910   $500,852.04     24-Feb-2025 3-Mar-2025 https://drive.google.com/file



                               9506-SL25002 Deposit   Wyrmspan EN 9                            STM850   $34,366.50      24-Feb-2025 3-Mar-2025 https://drive.google.com/file



                               9505-SL25003 Deposit   Wingspan EN 33                           STM910   $64,071.00      24-Feb-2025 3-Mar-2025 https://drive.google.com/file



                               9504-SL25010 Deposit   Wingspan Oceania Expansion EN 15 + INT   STM903   $53,991.60      24-Feb-2025 3-Mar-2025 https://drive.google.com/file



                               9499-SL24067 Final     Expeditions Map Token Upgrade Pack 01    STM671   $2,825.00       24-Feb-2025 3-Mar-2025 https://drive.google.com/file



                                                      Total:                                            $1,498,286.29


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                 Case 1:25-cv-00078-3JP             Document 10-1   Filed 05/13/25   Page 32 of 187




                            UNITED STATES COURT OF INTERNATIONAL TRADE

              PRINCESS AWESOME, LLC, ET AL.,

                               Plaintiffs,
                                                                    COURT NO. 25-00078
                       v.

              UNITED STATES CUSTOMS AND BORDER
              PROTECTION; ET AL.,

                               Defendants.


                                        DECLARATION OF PETER PAULIN

                     I, Peter Paulin, pursuant to 28 U.S.C. § 1746, declare as follows:

                     1.       I am the Chief Executive Officer of 300 Below, Inc., a Plaintiff in this

             matter.

                     2.       300 Below, headquartered in Illinois, has been in business for 30 years.

                     3.       300 Below provides cryogenic-tempering services; that is, we develop

             and deploy an innovative process to freeze metal parts to extend their lives.

                     4.       We import brake rotors from China that we process domestically and

             resell. We also import specialty freezers from China for resale. Neither the brake

             rotors nor the specialty freezers are reasonably available in the United States.

                     5.       On March 12, 2025, we ordered two specialty freezers from a

             manufacturer in China, and on March 14, 2025, we paid $10,700 for the freezers in

             advance of shipping.

                     6.       The two freezers did not depart China until March 31, 2025.

                     7.       The freezers are set to arrive by ship to Savannah, Georgia, in May 2025.
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                     8.       Due to Executive Order 14228 and Executive Order 14266, which

             together raised the tariff on goods imported from China to 145%, we anticipated a

             tariff of $15,515. See Executive Order 14228, Further Amendment to Duties

             Addressing the Synthetic Opioid Supply Chain in the People’s Republic of China, 90

             Fed. Reg. 11,463 (Mar. 7, 2025); Executive Order 14266, Modifying Reciprocal Tariff

             Rates to Reflect Trading Partner Retaliation And Alignment, 90 Fed. Reg. 15,625

             (Apr. 15, 2025). But as of the date of this Declaration, due to the 90-day agreement

             in place, we now expect our tariff for this shipment to be 30%, totaling $3,210. See

             Joint Statement on U.S.-China Economic and Trade Meeting in Geneva (May 12,

             2025), https://perma.cc/5CRS-D53A.

                     9.       Because we regularly import goods from China, the increased tariffs are

             preventing us from ordering additional brake rotors and freezers for resale in the

             near term because we cannot afford the increased pricing. As a result, our rotor-

             processing business has been reduced by over 50% since April 2024.

                     10.      The increased costs caused by the new tariffs negatively impacts our

             ability to compete in the marketplace with larger United States competitors that

             maintain large stocks of goods that were purchased and imported before the new

             tariffs went into effect.

                     11.      With the dramatic cost increases and resulting loss of business, 300

             Below has suffered and continues to suffer a lack of revenue, all of which put the

             future of our 30-year-old business in jeopardy.

                     12.      Attached hereto are the following true and correct copies of the



                                                             2
Docusign Envelope ID: CA866B1C-D374-45FC-9205-9961F563580E
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             aforementioned purchase quote and proof of payment:

                              Ex. 1: Low Temperature Freezer Purchase Order (Apr. 15, 2025)

                              Ex. 2: Wire Confirmation for Low Temperature Freezers (Mar. 14, 2025)

                     13.      I declare under penalty of perjury that the foregoing is true and correct.

             Executed on May 13, 2025, within the United States.




                                                                    /s/
                                                                    PETER PAULIN




                                                             3
 Docusign Envelope ID: CA866B1C-D374-45FC-9205-9961F563580E
                         Case 1:25-cv-00078-3JP                                  Document 10-1       Filed 05/13/25       Page 35 of 187
                                                                                   Quotation
Zhejiang Jiesheng Refrigeration Technology Co., Ltd
Zhejiang Jiesheng Cold Chain Technology Co., Ltd
Tel：+86-572-8282618 Mob/WeChat/WhatsApp ：+86-15858557779                                                                                               Date：     2025/4/15
Contact person: tom tu   Email: tom940506@gmail.com                                                                                              Invoice NO:     JS250415US
Factory ADD: No.169, Zhenxing Road, Leidian Town, Deqing County, Zhejiang. China                                                                    availd to:   2025/4/25
Office ADD: No.48, keyuan Road, Wuyang District, Deqing, Huzhou, Zhejiang, China

To:
Peter Paulin
USA

                                                                                                                                           DDP PRICE

                                                                                                                                                   DDP fee
                                                                                                                                                  guangzhou
                                                                                                                                       FOB       to Stephanie    Production
    Model                           Description of the Products                                   Photo               quantity      Guangzhou    Babb2999 E         Time
                                                                                                                                                 Parkway Dr,        Days
                                                                                                                                                  Decatur, IL
                                                                                                                                                  USA 62526




                                               Capacity:650L
                                                 Type:Chest
                                        Isolation thickness:130mm
                             Temperature Range:-40 to -86 degrees (adjustable)
                                 Condenser: Copper fin type/Fan cooling
                                       Evaporator: all copper tube
                                        Inside liner: Stainless steel
                                               Inside door: no
  DW-86W650                              Rated input power:850W
low temperature                     Refrigerant:CFC Free(Mixed Gas)                                                               USD3650.00/P                    5-10 days
                                                                                                                       2 PCS                       5000 USD
     freezer                        Net/Gross weight: 255 Kg/290KG                                                                C
                                  Inner dimension: 1300*600*700mm
                                Product dimension: 2190*1060*1075mm
                                Packing dimension: 2260*1080*1250mm

                                         Power Supply:110V/60Hz
                               Electronic controller with temperature display
                                   Compressor brand:Secop or Embraco
                                           With wooden package




                                                                                                                                 Totally                  12300 USD


Payment Terms: T/T, 100% deposit in advance.

Transportation modes: By sea,DDP from factory to Stephanie Babb2999 E Parkway Dr, Decatur, IL USA 62526


Remark:customer can get the goods 45-55 days after sailing
Docusign Envelope ID: CA866B1C-D374-45FC-9205-9961F563580E
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                                        Case 1:25-cv-00078-3JP
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                 Case 1:25-cv-00078-3JP             Document 10-1   Filed 05/13/25   Page 38 of 187




                           UNITED STATES COURT OF INTERNATIONAL TRADE

              PRINCESS AWESOME, LLC, ET AL.,

                               Plaintiffs,
                                                                    COURT NO. 25-00078
                      v.

              UNITED STATES CUSTOMS AND BORDER
              PROTECTION; ET AL.,

                               Defendants.


                                      DECLARATION OF QUENT CORDAIR

                     I, Quent Cordair, declare under penalty of perjury that the following is true

             and correct to the best of my present knowledge, information, and belief:

                     1.       I am the co-owner, with my wife Linda Cordair, of Upward Glance, LLC

             d/b/a Quent Cordair Fine Art (QCFA), a Plaintiff in this matter.

                     2.       QCFA is a premier provider of contemporary romantic realism art,

             including paintings, sculptures, and drawings. QCFA was established in 1996 in

             California; it is now based in Wyoming.

                     3.       We serve an international clientele of private and corporate collectors.

                     4.       QCFA regularly imports art from China, Argentina, Russia, and

             Ukraine, and prior to the tariff increases, we anticipated importing art from

             additional countries.

                     5.       Due to the recent increases in tariffs, we face extreme, unexpected tariff

             costs for nearly all of our imported art. See Executive Order 14195, Imposing Duties

             to Address the Synthetic Opioid Supply Chain in the People’s Republic of China, 90
Docusign Envelope ID: CAF316F4-F836-400A-962E-C65197A9111D
                 Case 1:25-cv-00078-3JP             Document 10-1        Filed 05/13/25   Page 39 of 187




             Fed. Reg. 9121 (Feb. 7, 2025), Executive Order 14228, Further Amendment to Duties

             Addressing the Synthetic Opioid Supply Chain in the People’s Republic of China, 90

             Fed. Reg. 11,463 (Mar. 7, 2025), Executive Order 14257, Regulating Imports With A

             Reciprocal Tariff To Rectify Trade Practices That Contribute To Large and Persistent

             Annual United States Goods Trade Deficits, 90 Fed. Reg. 15,041 (Apr. 2, 2025),

             Executive Order 14266, Modifying Reciprocal Tariff Rates to Reflect Trading Partner

             Retaliation And Alignment, 90 Fed. Reg. 15,625 (Apr. 15, 2025); Joint Statement on

             U.S.-China        Economic       and      Trade   Meeting     in   Geneva    (May   12,   2025),

             https://perma.cc/5CRS-D53A.

                     6.       These tariffs will make it difficult, if not impossible, for some artists to

             provide us with art. Any art that does get imported will be subject to higher tariffs

             and will require higher prices for potential customers. This will make it more difficult

             to sell the art, further harming our business.

                     7.       As a result, we expect a significant detrimental impact to our bottom

             line and the livelihoods of our artists if the tariffs are sustained at current levels.

                     8.       As a direct result of these uncertain tariff increases, QFCA must

             consider all options for future imports including cancelling or pausing orders, raising

             prices, forgoing art from certain countries, and utilizing expedited shipping to avoid

             additional uncertain increases.

                     9. I declare under penalty of perjury that the foregoing is true and correct.

             Executed on May 13, 2025, within the United States.

                                                                    /s/
                                                                    QUENT CORDAIR



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                 Case 1:25-cv-00078-3JP             Document 10-1   Filed 05/13/25   Page 40 of 187




                           UNITED STATES COURT OF INTERNATIONAL TRADE

              PRINCESS AWESOME, LLC, ET AL.,

                               Plaintiffs,
                                                                    COURT NO. 25-00078
                      v.

              UNITED STATES CUSTOMS AND BORDER
              PROTECTION; ET AL.,

                               Defendants.

                                DECLARATION OF KINGSEAL CORPORATION

                     I, John Song, pursuant to 28 U.S.C. § 1746, declare as follows:

                     1.      I am the President and Owner of KingSeal Corporation d/b/a Wesco

            Enterprises, Inc., a Plaintiff in this matter.

                     2.      KingSeal is a California corporation that imports foodservice products

            monthly that are generally produced only in China.

                     3.      On March 7, 2025, KingSeal ordered a shipment of foodservice products

            from China totaling $20,795. Because we have regularly imported from this supplier

            for over 25 years, we receive “Net 30” payment terms, providing us thirty calendar

            days from the invoice date to pay the full amount owed.

                     4.      KingSeal received an entry summary from Defendant United States

            Customs and Border Protection (Customs) reflecting tariffs on the $20,795 shipment

            of foodservice products on April 10, 2025, at a 20% ad valorem rate of duty

            promulgated by Executive Order 14228. See Executive Order 14228, Further

            Amendment to Duties Addressing the Synthetic Opioid Supply Chain in the People’s

            Republic of China, 90 Fed. Reg. 11,463 (Mar. 7, 2025). A true and correct copy of the
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            entry summary is included in Exhibit 1 attached.

                     5.      On March 31, 2025, KingSeal received an invoice from our customs

            broker reflecting $4,159 in tariffs levied by Customs pursuant to Executive Order

            14228 on the shipment of foodservice products. Our customs broker, who pays the

            tariffs on behalf of the company, extends KingSeal “Net 20” payment terms, providing

            us twenty calendar days from the invoice date to pay the full amount less any

            applicable credit to the account from previous payments. This payment was made on

            April 22, 2025. True and correct copies of the invoice and proof of payment are

            attached as Exhibits 1 and 2.

                     6.      On April 23, 2025, KingSeal received an entry summary from Customs

            on another shipment of foodservice products from China totaling $48,985, reflecting

            a 20% ad valorem rate of duty promulgated by Executive Order 14228. See Executive

            Order 14228, Further Amendment to Duties Addressing the Synthetic Opioid Supply

            Chain in the People’s Republic of China, 90 Fed. Reg. 11,463 (Mar. 7, 2025). This order

            was originally placed on January 3, 2025. A true and correct copy of the entry

            summary is included in Exhibit 3 attached.

                     7.      On April 11, 2025, KingSeal received an invoice from our customs broker

            reflecting $9,797 in tariffs levied by Customs pursuant to Executive Order 14228 on

            the $48,985 shipment of foodservice products. Our customs broker, who pays the

            tariffs on behalf of the company, extends KingSeal “Net 20” payment terms, providing

            us twenty calendar days from the invoice date to pay the full amount less any

            applicable credit to the account from previous payments. This payment was



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            forwarded on May 9, 2025. True and correct copies of the invoice and proof of payment

            are attached as Exhibits 3 and 4.

                     8.      On May 1, 2025, another shipment of foodservice products from China

            totaling $52,678 was imported, and Customs assessed a 20% ad valorem rate of duty

            promulgated by Executive Order 14228 and an additional 10% ad valorem rate of

            duty promulgated by Executive Order 14257. See Executive Order 14228, Further

            Amendment to Duties Addressing the Synthetic Opioid Supply Chain in the People’s

            Republic of China, 90 Fed. Reg. 11,463 (Mar. 7, 2025); Executive Order 14257,

            Regulating Imports With A Reciprocal Tariff To Rectify Trade Practices That

            Contribute To Large and Persistent Annual United States Goods Trade Deficits, 90

            Fed. Reg. 15,041 (Apr. 2, 2025). This order was originally placed on January 20, 2025.

            A true and correct copy of the entry summary is included in Exhibit 5 attached.

                     9. On May 2, 2025, KingSeal received an invoice from our customs broker

            reflecting $15,803.40 in tariffs at a rate of 30% ad valorem rate of duty levied by

            Customs pursuant to Executive Orders 14228 and 14257 on the $52,678 shipment of

            foodservice products. Our customs broker, who pays the tariffs on behalf of the

            company, extends KingSeal “Net 20” payment terms, providing us twenty calendar

            days from the invoice date to pay the full amount less any applicable credit to the

            account from previous payments. A true and correct copy of the invoice is attached as

            Exhibit 5.

                     10.     Going forward, as a direct result of the increased tariffs, we have either

            paused or cancelled all outstanding orders.



                                                             3
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                     11.      Because KingSeal regularly imports foodservice products from China to

            the United States, we anticipate paying increased tariffs on all future imports

            including those falling under the 90-day agreement in place. See Joint Statement on

            U.S.-China        Economic        and     Trade   Meeting     in   Geneva    (May   12,   2025),

            https://perma.cc/5CRS-D53A. This creates an existential threat to our business.

                     12.      KingSeal orders our goods for sale several months in advance from when

            we expect them to ship. When orders are paused or cancelled, as we will likely have

            to do as a result of the tariff increases, the company risks running out of inventory

            on the sales floor. If we cannot obtain additional goods to sell, KingSeal’s operations

            will be in serious jeopardy. And if the tariffs remain at current levels, KingSeal may

            be out of business by the end of 2025, if not sooner.

                           Ex. 1: Customs Broker Invoice (Mar. 31, 2025)

                           Ex. 2: Proof of Payment to Customs Broker (Apr. 22, 2025)

                           Ex. 3: Customs Broker Invoice (Apr. 11, 2025)

                           Ex. 4: Proof of Payment to Customs Broker (May 9, 2025)

                           Ex. 5: Customs Broker Invoice (May 2, 2025)

                     13.      I declare under penalty of perjury that the foregoing is true and correct.

            Executed on May 13, 2025, within the United States.




                                                                    /s/
                                                                    JOHN SONG




                                                              4
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                                                        Exhibit 1
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                                                        Exhibit 2
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                                                        Exhibit 3
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                                                        Exhibit 4
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                                                        Exhibit 5
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                           UNITED STATES COURT OF INTERNATIONAL TRADE

              PRINCESS AWESOME, LLC, ET AL.,

                               Plaintiffs,
                                                                     COURT NO. 25-00078
                      v.

              UNITED STATES CUSTOMS AND BORDER
              PROTECTION; ET AL.,

                               Defendants.


                                         DECLARATION OF DAN MARSHALL

                     I, Dan Marshall, pursuant to 28 U.S.C. § 1746, declare as follows:

                     1.       I am the co-owner, with my wife Mille Adelsheim and our daughter

             Abigail Adelsheim-Marshall, of Mischief, LLC d/b/a Mischief Toy Store, a Plaintiff in

             this matter.

                     2.       Mischief Toy Store, a toy store headquartered in Minnesota, has been

             open since October 1, 2015.

                     3.       We rely on over 100 suppliers who manufacture products throughout the

             world. Approximately 95% of our products sold in store are imported—85% from

             China and 5% from Vietnam and Indonesia.

                     4.       We order new inventory from our different suppliers daily. For some

             vendors, we place orders only once per year, but for others we order every two weeks.

             On average, we place orders once per quarter-year per vendor.

                     5.       Due to Executive Order 14228 and Executive Order 14266, which

             together raised the tariff on goods imported from China to 145%, and the 10% global
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             tariff imposed by Executive Order 14257, we anticipate a substantial increase in the

             cost of the goods we purchase. See Executive Order 14228, Further Amendment to

             Duties Addressing the Synthetic Opioid Supply Chain in the People’s Republic of

             China, 90 Fed. Reg. 11,463 (Mar. 7, 2025); Executive Order 14257, Regulating

             Imports With a Reciprocal Tariff To Rectify Trade Practices That Contribute to Large

             and Persistent Annual United States Goods Trade Deficits, 90 Fed. Reg. 15,041,

             15,041 (Apr. 2, 2025); Executive Order 14266, Modifying Reciprocal Tariff Rates to

             Reflect Trading Partner Retaliation And Alignment, 90 Fed. Reg. 15,625 (Apr. 15,

             2025); Joint Statement on U.S.-China Economic and Trade Meeting in Geneva (May

             12, 2025), https://perma.cc/5CRS-D53A (lasting only 90 days).

                     6.       Additionally, as of now, on July 9, 2025, additional reciprocal tariffs on

             Vietnam and Indonesia of 46% and 32% respectively will go into effect, pushing the

             prices of the goods we purchase even higher. Executive Order 14257, Regulating

             Imports With a Reciprocal Tariff To Rectify Trade Practices That Contribute to Large

             and Persistent Annual United States Goods Trade Deficits, 90 Fed. Reg. 15,041

             (Apr. 2, 2025); Executive Order 14266, Modifying Reciprocal Tariff Rates to Reflect

             Trading Partner Retaliation and Alignment, 90 Fed. Reg. 15,625, 15,626 (Apr. 15,

             2025)

                     7.       Many of our suppliers have informed us that they will be increasing

             their costs as a direct result of the increased tariffs. One of our suppliers informed us

             that they are cancelling Halloween merchandise and that the cost of the Christmas

             merchandise will increase by 70%. Several other suppliers have informed us that they



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             are ceasing all imports and withdrawing from the United States market.

                     8.       Some of our outstanding orders have been cancelled, while other orders

             include a tariff surcharge. At best, we are operating under significant uncertainty

             regarding what prices will be, what products will be available, and which vendors

             will be selling to stores like us in the United States. True and correct copies of some

             notifications we have received are attached to this Declaration as Exhibits 1, 2, 3, and

             4.

                     9.       This uncertainty causes extreme difficulties for us moving forward.

             When the cost of inventory increases, our margins decrease. We do not want to do so,

             but we may be forced to pass on the higher costs to our customers in order to keep

             our business open. If tariffs on Chinese imports again reach 145% following the 90-

             day agreement, we anticipate substantially higher supplier prices. See Joint

             Statement on U.S.-China Economic and Trade Meeting in Geneva (May 12, 2025),

             https://perma.cc/5CRS-D53A. These higher prices will substantially reduce our

             revenue and net income for the foreseeable future—threatening the viability of our

             family business.

                     10.      As a result, Mischief has stretched its financing to purchase as many

             toys as possible at pre-tariff prices. This financing has resulted in a higher financing

             balance than Mischief normally maintains in the usual course of its business, and

             Mischief will pay more interest than it otherwise would.

                     11.      As 2025 continues, we will focus on building as much inventory as

             possible under the expectation that our suppliers will themselves have less inventory



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             than usual due to the higher tariffs and increased orders from other purchasers, like

             Mischief, seeking to maximize their inventory.

                     12.      If the tariffs remain in place and we survive the 2025 Christmas season,

             we may not be able to survive after that.

                              Ex. 1: Purchase Order from Dreams USA, Inc. (May 9, 2025)

                              Ex. 2: Email from Schylling Inc. to Mischief Toy Store (May 2, 2025)

                              Ex. 3: Email from Marky Sparky to Mischief Toy Store (May 5, 2025)

                              Ex. 4: Email from DJECO-US to Mischief Toy Store (Apr. 22, 2025)

                     13.      I declare under penalty of perjury that the foregoing is true and correct.

             Executed on May 13, 2025, within the United States.




                                                                     /s/
                                                                     DAN MARSHALL




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                                              EXHIBIT 1
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                                              EXHIBIT 2
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              From: Schylling Orders (orders@schylling.com) <system@sent-via.netsuite.com>
              Date: Fri, May 2, 2025 at 3:30ௗPM
              Subject: ACTION REQUIRED – Fall 2025 Seasonal Orders & Tariff Impact update: PO# MA1571162
              To:         @mischieftoy.com>
              CC:         @smgroupsales.com>,        @mischieftoy.com>,      @mischieftoy.com>



              Dear Valued Customer,

              We are reaching out regarding your Fall 2025 seasonal order: SO-330552 MA1571162

              Due to recent developments in U.S. trade policy, the tariff rate on goods manufactured in China has increased
              significantly beyond the original 20% we accounted for in our March pricing update. As of now, the tariff rate applicable
              to our products is 145%.

              As a result, we are updating the pricing on all Fall 2025 seasonal items to reflect this tariff impact. We understand this
              is a substantial change, and we want to give you the opportunity to review your order. If you choose to change or
              cancel your order, please notify us by Friday, May 9th. Any orders not changed or canceled by that date will proceed at
              the revised pricing.

              Additionally:

                    We are unable to produce the Halloween items in the Fall 2025 line. These products will not be shipped and
                    all orders for these items have been cancelled.
                    The new estimated ship date for Fall 2025 seasonal items is on or around September 1, 2025.
                    The updated pricing you are receiving reflects our effort to minimize the impact of these tariff increases.
                    If tariff rates are adjusted downward at the time your order enters the U.S., we will adjust your pricing
                    accordingly to reflect the actual tariff rate applied to your goods.

              The new updated pricing is as follows:




              We deeply value your partnership and appreciate your understanding as we navigate these unexpected cost increases.
              Please reply to this email, reach out to your sales representative or contact us directly at orders@schylling.com or 800-
              541-2929 with any questions or to change or cancel your order.



              Warm regards,

              Schylling


              Schylling Inc.
              21 High Street Suite 400 | North Andover, MA 01845
              Office: 978-948-3601 | Fax: 978-948-0860
              e: orders@schylling.com
              w: www.schylling.com
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                                              EXHIBIT 3
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              From: Rudy, Marky Sparky Toys          @markysparkytoys.com>
              Date: Mon, May 5, 2025 at 9:00ௗPM
              Subject: Important Update on Backordered Item #90008 – Doinkit Darts Original Dartboard
              To: Millie     @mischieftoy.com>




                   View this email in your browser
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                  Logo




                       Doinkit Darts Original Dartboard on
                        Hold – See What’s In Stock Now
                                Summer’s Still On – Our Top Toys Are Ready to Go
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                        Dear Curator of Play,



                        I wanted to personally reach out and provide an important update
                        regarding backordered item #90008 – Doinkit Darts Original
                        Dartboard.

                        We had originally planned to restock this item by the week of May
                        12th, but due to recent tariff changes, the restock date is
                        now unknown. When we developed our original tariff plan, we never
                        anticipated the tariff rate would exceed 50%—let alone climb beyond
                        100%. At that time, we committed to a strategy of raising prices on
                        just two items and absorbing as much of the increase as we could to
                        keep business running smoothly for all of us and continue to deliver
                        the high-quality goods you expect.

                        We're continuing to stand by that plan.

                        The good news is, we were able to secure a healthy amount of
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                        inventory on most of our product line at manageable tariff rates, and
                        we’re excited to supply you with those items throughout the summer
                        and beyond.

                        Unfortunately, item #90008 - Doinkit Darts Original Dartboard was
                        the one product that didn’t arrive before the tariff exceeded
                        100%. We simply can't import it at the current tariff rate without
                        straying far from our original strategy.

                        We’ll monitor the situation closely and import the Doinkit Darts
                        Original Dartboard as soon as the tariff environment allows. When we
                        do get them stateside, we will honor the pre-tariff cost that we
                        promised to do for the orders that we have already received.

                        In the meantime, we hope you'll consider stocking up on our other
                        high-performing, proven items—we’re confident they’ll continue to
                        delight your customers and support your sales. We have them all in
                        stock and ready to ship.

                        Thanks for your continued partnership and understanding. Please
                        feel free to reach out with any questions—we’re here to help and
                        adjust orders as needed.



                        Playfully,

                        Rudy Valenta

                        MARKY SPARKY


                                                   Find Your Local Sales Rep



                                                   Marky Sparky Best Sellers



                                                  Marky Sparky Retailer Folder




                                     TikTok Made Them Try It
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                                               See whats trending at Marky Sparky




                                                     On The Blog
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                                          What Makes LARP Arrows Legal or Illegal

                   Not all foam-tipped arrows are created equal. Whether you're crafting your own or
                   buying pre-made, understanding what makes a LARP (LIVE Action Role Playing)
                   arrow legal is crucial for safety and gameplay. Dive into our latest blog post to learn
                   about essential design features, safety standards, and how to ensure your arrows meet
                   the requirements of your LARP organization. Stay informed and play with
                   confidence! Read latest blog post.




                                                News & Updates
                          Item # 90008 - Doinkit Darts Original Dartboard our currently out of stock.
                          Restocking date is currenly unknown due to tarrifs. Item # 90010 Doinkit
                          Darts PRO Dartboard is in stock and a great alternative with PRO
                          features.
Docusign Envelope ID: F0319F3E-21A4-4521-8DE9-9268D7330A6F
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                          All other items are in stock and shipping same day




                  Logo




                                              Copyright (C) 2025 Marky Sparky Toys. All rights reserved.
                     You're receiving this because you are a highly valued retail partner of Marky Sparky Toys and have previously
                      ordered one of our lines or we hope that you will carry one of our product lines at your store in the future.

                                                                Our mailing address is:

                    Marky Sparky Toys
                    1255 Keystone Way
                    #104
                    Vista, CA 92081

                    Add us to your address book


                    Want to change how you receive these emails?
                    You can update your preferences or unsubscribe
Docusign Envelope ID: F0319F3E-21A4-4521-8DE9-9268D7330A6F
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                                              EXHIBIT 4
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              From: Barb Olson          @diversemail.com>
              Date: Wed, Apr 23, 2025 at 7:05ௗAM
              Subject: Fw: Cancellation Notification
              To: Millie Adelsheim                @gmail.com>, Dan Marshall
                  @marshallwords.com>


              Hi Millie and Dan

              Since the orders are all being cancelled by Djeco, please let me know if you
              want me to put this back in the system to reorder once we know what is
              happening.

              I know this is a frustrating and even scary situation, but our Manufacturers (a
              lot of them) are doing what they can to make this work for all of us.

              As always, please let me know if there is anything else I can do for you!!


              Barb Olson
              Territory Manager Toy and Gift MN/SD




              Dallas · Atlanta · Minneapolis · Las Vegas · Seattle · New York


              c. 763.639.6353 |              @diversemail.com

              From: customerservice@djeco-us.com <customerservice@djeco-us.com>
              Sent: Tuesday, April 22, 2025 9:58 PM
              To: milli        @gmail.com <millie     @gmail.com>
              Cc: Barb Olson        @diversemail.com>
              Subject: Cancellation Notification
Docusign Envelope ID: F0319F3E-21A4-4521-8DE9-9268D7330A6F
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              Bill To                         Ship To
                                              Mischief Toys                               Mischief Toys
              818 Grand Ave                                            818 Grand Ave
              Saint Paul, MN 55105            Saint Paul, MN 55105
              Purchase Order                  Order Date        Req Ship Date           Cancel Date
              MA5478915                       04/15/2025        04/14/2025

              The following items have been cancelled from your order

              Part    Part Desc                                      Qty Unit Price Ext Amt           ETA
              DJ01832 Wooden Puzzles Puzzlo Dino                       4      12.50    50.00    08/06/2025
              DJ01831 Wooden Puzzles Puzzlo Vroom                      4      12.50    50.00    08/06/2025
              DJ06446 EL: Kimami Farm                                  4      11.00    44.00    08/06/2025
              DJ06033 Animambo Egg Maraca                             18       4.00    72.00    08/06/2025
              DJ00086 LPA Felt Dress-Up                               12      10.00  120.00     08/06/2025
              DJ07918 DIY Adorable Craft Kit                           6       9.50    57.00    08/06/2025
              DJ07462 Observation Crazy Town                           8       9.00    72.00    08/06/2025
              DJ00058 PG Birds Baby Stickers                          12       4.00    48.00    08/06/2025
              DD04721 Umbrellas Wild Bird Adult                        4       7.50    30.00    08/06/2025
              DJ09546 LGA Demoiselle Zaho & Friends                   10       4.00    40.00    08/06/2025
              DJ09547 LGA Demoiselle Angèle & Friend                  10       4.00    40.00    08/06/2025
              DJ09548 LGA Demoiselle Nina & Friends                   10       4.00    40.00    08/06/2025
              DJ07660 Puzz'Art Lion (350pc)                            8      11.00    88.00    08/06/2025

              Reason for Cancellation: CANCELLED PER CORPORATE

              Thank you for your business. The above items have been cancelled from order #10073985.
              See the reason for cancellation noted above. If your backorder fell below our new minimum
              threshold of $250.00, this cancellation occurred to help lower our carbon footprint by cutting
              the number of small shipments. Thank you for helping us work towards a better future for
              our children!
              This cancellation completes the order in our system. Want to reorder these items? Reply to
              your rep to start placing a new order or go to wholesale.djeco-us.com.
              Qualifying terms of FFA/Net 30 starts @ $500. Minimum reorder is $250. Reps have the
              next available date for most items. Thank you for your partnership in a strong toy community

              Customer Service
              DJECO-US
              Phone: (301) 895-3790
              Fax: (301) 895-5029
              customerservice@djeco-us.com
Docusign Envelope ID: FA22AE7C-8A77-4C30-B35F-4FB40DDBC2E6
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                           UNITED STATES COURT OF INTERNATIONAL TRADE

             PRINCESS AWESOME, LLC, ET AL.,

                              Plaintiffs,
                                                                  COURT NO. 25-00078
                      v.

             UNITED STATES CUSTOMS AND BORDER
             PROTECTION; ET AL.,

                              Defendants.

                                          DECLARATION OF ALEX WOLF

                    I, Alex Wolf, pursuant to 28 U.S.C. § 1746, declare as follows:

                    1.       I am the owner and Chief Executive Officer of Spielcraft Games, LLC, a

            Plaintiff in this matter.

                    2.       Spielcraft Games, headquartered in Omaha, Nebraska, is a tabletop

            game publisher.

                    3.       Spielcraft Games produces multiple tabletop games, including its

            popular game, Cretaceous Rails, for distribution nationwide.

                    4.       In creating our tabletop games, Spielcraft Games works with a

            manufacturer in Shanghai, China, that produces the board game sets and ships them

            to fulfillment companies in the United States.

                    5.       Spielcraft Games has worked with manufacturers in China since March

            2020.

                    6.       In April 2024, Spielcraft Games entered into an agreement with its

            manufacturer to produce 2,491 board game sets for various games and 390 board

            game sets for our popular game, Cretaceous Rails. Under the terms of the agreement,
Docusign Envelope ID: FA22AE7C-8A77-4C30-B35F-4FB40DDBC2E6
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            Spielcraft Games paid a 50% deposit on the total production price of $55,685.38, plus

            100% of the tooling and sample costs, with the remaining 50% due before shipment.

            Spielcraft Games received the commercial invoice for the remaining payment on

            December 5, 2024, with an estimated date of departure of March 18, 2025.

                    7.       Spielcraft Games paid $1,315.00 for six samples on May 16, 2023, paid

            the initial deposit of $34,165.19 on April 8, 2024, and final deposit of $20,205.19 on

            December 10, 2024. All payments were made prior to promulgation of Executive

            Order 14195, which imposed a 10% ad valorem rate of duty on all articles produced

            in China and Executive Order 14228, which raised the ad valorem rate of duty on

            articles imported from China to 20%. See Executive Order 14195, Imposing Duties to

            Address the Synthetic Opioid Supply Chain in the People’s Republic of China, 90 Fed.

            Reg. 9121 (Feb. 7, 2025); Executive Order 14228, Further Amendment to Duties

            Addressing the Synthetic Opioid Supply Chain in the People’s Republic of China, 90

            Fed. Reg. 11,463 (Mar. 7, 2025). True and correct copies of the invoices and proof of

            payment are attached to this Declaration as Exhibits 1, 2, 3, 4, and 5 respectfully.

                    8.       These first 2,491 assorted board game sets were imported on April 2,

            2025, and subject to a 20% ad valorem rate of duty promulgated by Executive Order

            14228.

                    9.       As a result, Spielcraft Games paid $4,335.40 in tariffs levied by

            Defendant United States Customs and Border Protection (Customs) pursuant to

            Executive Order 14228. True and correct copies of the original and corrected entry

            summaries, customs broker’s receipt, and proof of payment are attached to this



                                                             2
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            Declaration as Exhibits 6, 7, 8, and 9 respectively, with additional payment

            compensating for the shortfall of the corrected entry summary reflected in Exhibit

            11.

                    10.      After Spielcraft Games paid this tariff, the President signed Executive

            Order 14266, which, together with Executive Order 14228, raised the tariff on goods

            imported from China to 145%. See Executive Order 14266, Modifying Reciprocal

            Tariff Rates to Reflect Trading Partner Retaliation And Alignment, 90 Fed. Reg.

            15,625 (Apr. 15, 2025).

                    11.      On May 9, 2025, Spielcraft Games received the entry summary for the

            390 Cretaceous Rails game sets subject to a 20% ad valorem rate of duty, totaling

            $1,535.80. True and correct copies of the entry summary and proof of payment are

            attached to this Declaration as Exhibits 10 and 11, respectfully. The game sets are

            estimated to arrive on May 16, 2025.

                    12.      Due to the recent joint statement regarding a 90-day agreement between

            the United States and China, as of the date of this Declaration, when Spielcraft

            Games accepts shipment of the goods en route, the tariff amount could change. See

            Joint Statement on U.S.-China Economic and Trade Meeting in Geneva (May 12,

            2025), https://perma.cc/5CRS-D53A.

                    13.      Spielcraft Games cannot afford the unexpected increased tariff costs.

            The business, like many other board game publishers, is primarily sold through

            crowdfunding. It uses crowdfunding as a form of preorder: customers pay before

            games are manufactured. Because of this business model, Spielcraft Games cannot



                                                             3
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            increase the paid customers’ prices for games that are in production or have been

            produced and shipped and must therefore pay the entire new tariff costs.

                    14.      As a result, Spielcraft Games has been forced to suspend this year’s

            planned production of a new game that has been in development for years. Spielcraft

            Games has also delayed production of four other games that were planned for

            distribution in the United States.

                    15.      Spielcraft Games had to stop employing its marketing firm, which has

            all of its employees in the United States.

                    16.      Because of the increased tariff costs and the uncertainty caused by the

            changing tariff rates, Spielcraft Games cannot accurately assess the right price for

            preorders. Spielcraft Games also faces the risk that many customers will not pre-

            order products out of concern that the increased tariffs will prevent Spielcraft Games

            from being able to deliver the games.

                    17.      Spielcraft Games cannot switch to a United States manufacturer

            because no domestic manufacturer has the capabilities of producing all the

            components for our products at competitive prices.

                    18.      Because approximately 65% of Spielcraft Games’ sales are in the United

            States, its business is unsustainable under current conditions. If the tariff on Chinese

            goods reaches up to 145% following the 90-day agreement, Spielcraft Games will be

            faced with the difficult decision of whether to abandon goods already manufactured,

            which would cost Spielcraft Games its deposit for the full order’s amount and the

            trust of its customers; or whether to jeopardize the future of the company by accepting



                                                             4
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            the products and paying the tariff.

                    19.      As a direct result of these uncertain tariff increases, Spielcraft Games

            must consider all options for future imports including cancelling or pausing orders,

            raising prices, transferring production to other countries, storing goods, utilizing

            expedited shipping, and prematurely maximizing orders beyond current inventory

            need to avoid additional increases in the future.

                    Ex. 1: Initial Invoice from LongPack Games & Toys (May 8, 2023)

                    Ex. 2: Final Invoice from LongPack Games & Toys (May 8, 2023)

                    Ex. 3: Wire Receipt for Samples (May 16, 2023)

                    Ex. 4: Wire Receipt for Initial Deposit (Apr. 8, 2024)

                    Ex. 5: Wire Receipt for Final Deposit (Dec. 10, 2024)

                    Ex. 6: Original Customs Entry Summary (Apr. 2, 2025)

                    Ex. 8: Revised Customs Entry Summary (Apr. 15, 2025)

                    Ex. 7: Wire Receipt for Tariff Payment (Apr. 15, 2025)

                    Ex. 9: Customs Entry Summary (May 9, 2025)

                    Ex. 10: Wire Receipt for Tariff Payment Including Tariff Back Pay (May 5,

                    2025)

                    20.      I declare under penalty of perjury that the foregoing is true and correct.

            Executed on May 13, 2025, within the United States.




                                                                  /s/
                                                                  ALEX WOLF


                                                             5
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                                            EXHIBIT 1
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                                                                                                       PROFORMA INVOICE
          LongPack Limited
          7 Temasek Boulevard #12-07 Suntec Tower One Singapore 038987                                                        No.:    Pinv6503916
         To Customer:                  C02222                                                         Dept.:   BG
         Company:                      Spielcraft Games LLC                                            Date:   2023-5-8
         Attn:                         Alexander Wolf                                       Your P.O. No.:
         Tel:                          1-402-707-5926                                        Account Mgr:      Doris.Chen
         Email:                                                                             Quotation No.:     Q21796
                                                                                           Delivery Terms:     EXW
         Address:                      Spielcraft Games LLC
                                                                                                Currency:      USD
                                       6723 S. 109th St.
                ID      Our Item NO.         Item Name              Description                 Qty.           Unit Price(USD)        Amount(USD)


                 1        CT153981       Cretaceous Rails-EN        Digital sample                6                    0                  0.00

                                                                  Air freight cost+6
                 2        FY102199       Cretaceous Rails-EN       units of Digital               1                  1135                1135.00
                                                                     sample cost

                 3        MJ178240       Cretaceous Rails-EN    Plastic insert tool cost          1                   360                360.00


                 4        MJ178241       Cretaceous Rails-EN       Minis Tool cost                1                  12000              12000.00


                 5        MJ178242       Cretaceous Rails-EN      Minis Sample cost               1                  1500                1500.00


                 6        FY102199                                   Reprint cost                 1                   200                200.00


                 7        CT153981       Cretaceous Rails-EN         Main Game                  1500                 19.69              29535.00


                                                                  Mass productions
                 8        CT153981       Cretaceous Rails-EN                                      1                    0                  0.00
                                                                      sample
                                                                Over productions for
                 9        CT153981       Cretaceous Rails-EN    free for any potential           12                    0                  0.00
                                                                        issues

                10        CT183655            Expansion               Expansion                 1000                  4.93               4930.00


                                                                  Mass productions
                11        CT183655            Expansion                                           1                    0                  0.00
                                                                      sample
                                                                Over productions for
                12        CT183655            Expansion         free for any potential           10                    0                  0.00
                                                                        issues
                                                                  Pteranodon Minis
                13        MJ178242              Expansion                                         1                   85                  85.00
                                                                    Sample cost


                14        MJ178241            Expansion            Minis Tool cost                1                  1130                1130.00


                15        MJ178242              Expansion         Minis Sample cost               1                   145                145.00


                16        SB189684              Playmats               Playmats                 300                   1.42               426.00


                                                                  Mass productions
                17        SB189684              Playmats                                          1                    0                  0.00
                                                                      sample
                                                                Over productions for
                18        SB189684              Playmats        free for any potential            3                    0                  0.00
                                                                         issues
                                                                50 copies each of the
                17        FY102199                              base game rule book               1                  212.19              212.19
                                                                      in German
                                                                50 copies each of the
                18        FY102199                                expansion rules in              1                  117.19              117.19
                                                                        German
                                                                                                                SubTotal:      USD      51,775.38
         PAYMENT TERMS                                                                                    Already Deposit:      USD      1,315.00

         50% Deposit / 50% Before shipment(100% deposit for sample cost)                                  The rest Deposit:     USD     34,165.19

         NOTES




         BANK DETAILS
         Bank:                         DBS Bank Ltd
         Beneficiary:                  LongPack Limited
Docusign Envelope ID: FA22AE7C-8A77-4C30-B35F-4FB40DDBC2E6
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         Bank A/C:                    003-955503-2
         Currency:                    USD
         Swift Code:                  DBSSSGSG
         Bank Address:                12 Marina Boulevard, DBS Asia Central, Marina Bay Finacial Centre Tower 3, Singapore 018982
         Country:                     SINGAPORE
         Chip No.:

         NOTICE OF CHANGE BANK INFORMATION
         1. Our account managers/or any staff from our company will NEVER ask you to remit to another bank account without
         asking you to check personally with our CEO: Ning Pan.
         2. You can confirm with our CEO as following:
           2.1 by sending a text message to his mobile at + 8613817827972 by saying:
               Hi Ning, I am XX ( your name ) at XXX Ltd ( your company name ). I am asked to remit to another bank account.
         Please confirm. My email is XXXX and mobile is XXXX.
           2.2 by calling Ning Pan at + 8613817827972
           2.3 by posting to (Attn: Ning Pan), Rm 802, No. 8-9, Building 2, 1500 Lane, Lianhua South Rd., Shanghai 201108 PR
         China
         ATTENTION
         1. Please Kindly indicate Pinv Number when making Payments.
         2. Remitter pays remitter's bank charge, We pay beneficiary bank charges.
         3. We prefer direct bank transfer to our bank account as stated above in this proforma invoice. If you choose to use
         platforms like xoom, transferwise, Wyre, HiFx, etc., please make sure we receive only in USD currency, we do not accept
         other currencies like CNY, Hong Kong Dollars, Singaporean Dollars. If we receive your payments in other currencies than
         USD, we will exchange them to USD at our bank current exchange rate. Thus the USD we get may not be the same amount
         of USD you transfer. And you will be responsible for the differences. Thank you for your cooperation.
         4.Game Over Production : 0-1% of over production (max. 100 games) is expected (not promised) Free of Charge to cover
         the potential defects of delivered production.
         5. We provide free warehousing for 4 weeks after assembly is completed.
         If your product remains in our warehouse after 4 weeks, we will charge $6 USD per pallet per week.
         6. In order to clarify the responsibilities and obligations of LongPack and our client(s) for the development of molds; please
         refer to our Mold Development Agreement. Please sign this agreement and send it back to us. (Please note: this
         agreement applies to all molds developed by LongPack for our customers including past projects).
         7. All products manufactured by LongPack Ltd. are warranted under our warranty policy; for more details on the terms and
         conditions, please refer to our website:
         https://www.longpackgames.com/wp-content/uploads/2022/04/Warranty-Policy.pdf
Docusign Envelope ID: FA22AE7C-8A77-4C30-B35F-4FB40DDBC2E6
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                                            EXHIBIT 2
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                                                                                                        PROFORMA INVOICE
          LongPack Limited
          7 Temasek Boulevard #12-07 Suntec Tower One Singapore 038987                                                         No.:    Pinv6503916
         To Customer:                  C02222                                                          Dept.:   BG
         Company:                      Spielcraft Games LLC                                             Date:   2023-5-8
         Attn:                         Alexander Wolf                                        Your P.O. No.:
         Tel:                          1-402-707-5926                                         Account Mgr:      Doris.Chen
         Email:                                                                              Quotation No.:     Q21796
                                                                                            Delivery Terms:     EXW
         Address:                      Spielcraft Games LLC
                                                                                                 Currency:      USD
                                       6723 S. 109th St.
                ID      Our Item NO.         Item Name               Description                 Qty.           Unit Price(USD)        Amount(USD)


                 1        CT153981       Cretaceous Rails-EN         Digital sample                6                    0                  0.00

                                                                   Air freight cost+6
                 2        FY102199       Cretaceous Rails-EN        units of Digital               1                  1135                1135.00
                                                                      sample cost

                 3        MJ178240       Cretaceous Rails-EN                                       1                   360                360.00


                 4        MJ178241       Cretaceous Rails-EN        Minis Tool cost                1                  12000              12000.00


                 5        MJ178242       Cretaceous Rails-EN       Minis Sample cost               1                  1500                1500.00


                 6        FY102199                                    Reprint cost                 1                   200                200.00


                 7        CT153981       Cretaceous Rails-EN          Main Game                  1600                 19.69              31504.00


                                                                   Mass productions
                 8        CT153981       Cretaceous Rails-EN                                       1                    0                  0.00
                                                                       sample
                                                                 Over productions for
                 9        CT153981       Cretaceous Rails-EN     free for any potential           12                    0                  0.00
                                                                         issues

                10        CT183655            Expansion                Expansion                 1000                  4.96               4960.00


                                                                   Mass productions
                11        CT183655            Expansion                                            1                    0                  0.00
                                                                       sample
                                                                 Over productions for
                12        CT183655            Expansion          free for any potential           10                    0                  0.00
                                                                         issues
                                                                   Pteranodon Minis
                13        MJ178242              Expansion                                          1                   85                  85.00
                                                                     Sample cost


                14        MJ178241            Expansion             Minis Tool cost                1                  1130                1130.00


                15        MJ178242              Expansion          Minis Sample cost               1                   145                145.00


                16        SB189684              Playmats                Playmats                 300                   1.42               426.00


                                                                   Mass productions
                17        SB189684              Playmats                                           1                    0                  0.00
                                                                       sample
                                                                 Over productions for
                18        SB189684              Playmats         free for any potential            3                    0                  0.00
                                                                          issues
                                                                 50 copies each of the
                19        FY102199                               base game rule book               1                  212.19              212.19
                                                                       in German
                                                                 50 copies each of the
                20        FY102199                                 expansion rules in              1                  117.19              117.19
                                                                         German

                21        FY102199              Expansion        Plastic insert tool cost          1                  180.00              180.00


                                        Variable Player Power
                22        CT213779                                     Expansion                 850                   0.66               561.00
                                                Cards

                                        Variable Player Power      Mass productions
                23        CT213779                                                                10                   0.00                0.00
                                                Cards                  sample
                                                                 Over productions for
                                        Variable Player Power
                24        CT213779                               free for any potential            1                   0.00                0.00
                                                Cards
                                                                         issues
Docusign Envelope ID: FA22AE7C-8A77-4C30-B35F-4FB40DDBC2E6
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                                                                  Extra 120 sets
             25          CT183655            Expansion                                   120             9.75               1170.00
                                                                    Expansion
                                                                                                       SubTotal:    USD    55,685.38
         PAYMENT TERMS                                                                           Already Deposit:   USD    35,480.19

         50% Deposit / 50% Before shipment(100% deposit for sample cost)                        Balance payment:    USD    20,205.19

         NOTES




         BANK DETAILS
         Bank:                        DBS Bank Ltd
         Beneficiary:                 LongPack Limited
         Bank A/C:                    003-955503-2
         Currency:                    USD
         Swift Code:                  DBSSSGSG
         Bank Address:                 12 Marina Boulevard, DBS Asia Central, Marina Bay Finacial Centre Tower 3, Singapore 018982
         Country:                     SINGAPORE
         Chip No.:

         NOTICE OF CHANGE BANK INFORMATION
         1. Our account managers/or any staff from our company will NEVER ask you to remit to another bank account without
         asking you to check personally with our CEO: Ning Pan.
         2. You can confirm with our CEO as following:
           2.1 by sending a text message to his mobile at + 8613817827972 by saying:
               Hi Ning, I am XX ( your name ) at XXX Ltd ( your company name ). I am asked to remit to another bank account.
         Please confirm. My email is XXXX and mobile is XXXX.
           2.2 by calling Ning Pan at + 8613817827972
           2.3 by posting to (Attn: Ning Pan), Rm 802, No. 8-9, Building 2, 1500 Lane, Lianhua South Rd., Shanghai 201108 PR
         China
         ATTENTION
         1. Please Kindly indicate Pinv Number when making Payments.
         2. Remitter pays remitter's bank charge, We pay beneficiary bank charges.
         3. We prefer direct bank transfer to our bank account as stated above in this proforma invoice. If you choose to use
         platforms like xoom, transferwise, Wyre, HiFx, etc., please make sure we receive only in USD currency, we do not accept
         other currencies like CNY, Hong Kong Dollars, Singaporean Dollars. If we receive your payments in other currencies than
         USD, we will exchange them to USD at our bank current exchange rate. Thus the USD we get may not be the same amount
         of USD you transfer. And you will be responsible for the differences. Thank you for your cooperation.
         4.Game Over Production : 0-1% of over production (max. 100 games) is expected (not promised) Free of Charge to cover
         the potential defects of delivered production.
         5. We provide free warehousing for 4 weeks after assembly is completed.
         If your product remains in our warehouse after 4 weeks, we will charge $6 USD per pallet per week.
         6. In order to clarify the responsibilities and obligations of LongPack and our client(s) for the development of molds; please
         refer to our Mold Development Agreement. Please sign this agreement and send it back to us. (Please note: this
         agreement applies to all molds developed by LongPack for our customers including past projects).
         7. All products manufactured by LongPack Ltd. are warranted under our warranty policy; for more details on the terms and
         conditions, please refer to our website:
         https://www.longpackgames.com/wp-content/uploads/2022/04/Warranty-Policy.pdf
Docusign Envelope ID: FA22AE7C-8A77-4C30-B35F-4FB40DDBC2E6
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                                            EXHIBIT 3
Docusign Envelope ID: FA22AE7C-8A77-4C30-B35F-4FB40DDBC2E6
 Case 1:25-cv-00078-3JP            Document 10-1             Filed 05/13/25   Page 112 of 187
Docusign Envelope ID: FA22AE7C-8A77-4C30-B35F-4FB40DDBC2E6
                Case 1:25-cv-00078-3JP            Document 10-1   Filed 05/13/25   Page 113 of 187




                                            EXHIBIT 4
Docusign Envelope ID: FA22AE7C-8A77-4C30-B35F-4FB40DDBC2E6
                 Case 1:25-cv-00078-3JP                 Document 10-1             Filed 05/13/25          Page 114 of 187
                                                                                                                             Spielcraft Games LLC
                                                                                                                                 Checking

                                       Your receipt from Mercury
                                       April 8, 2024                                          Status: Sent


                                                                 International Wire

                                                               $34,165.19
                                                                to Longpack Limited


                                       Recipient’s Bank Details
                                       SWIFT Code                                            DBSSSGSG
                                       Account Number


                                       Memo for recipient
                                       “Pinv6503916 Spielcraft Games LLC”


                                       Cost Breakdown
                                       Recipient Name                                 Longpack Limited
                                       Amount                                               $34,165.19
                                       Wire Cost                                                $0.00
                                       Total Paid                                          $34,165.19




        Transaction ID: 16f3f0c0-f5b3-11ee-8574-cb3c4d05ac9e                          Email us at help@mercury.com if you have any questions
Docusign Envelope ID: FA22AE7C-8A77-4C30-B35F-4FB40DDBC2E6
                Case 1:25-cv-00078-3JP            Document 10-1   Filed 05/13/25   Page 115 of 187




                                            EXHIBIT 5
Docusign Envelope ID: FA22AE7C-8A77-4C30-B35F-4FB40DDBC2E6
                Case 1:25-cv-00078-3JP                  Document 10-1            Filed 05/13/25          Page 116 of 187
                                                                                                                            Spielcraft Games LLC
                                                                                                                                Checking

                                       Your receipt from Mercury
                                       December 9, 2024                                      Status: Sent


                                                                International Wire

                                                           $20,205.19
                                                               to Longpack Limited


                                       Recipient’s Bank Details
                                       SWIFT Code                                           DBSSSGSG
                                       Account Number


                                       Memo for recipient
                                       “From Spielcraft Games LLC”


                                       Cost Breakdown
                                       Recipient Name                                Longpack Limited
                                       Amount                                             $20,205.19
                                       Wire Cost                                               $0.00
                                       Total Paid                                         $20,205.19




        Transaction ID: eceaf210-b65a-11ef-8589-dbd81acf8ab4                         Email us at help@mercury.com if you have any questions
Docusign Envelope ID: FA22AE7C-8A77-4C30-B35F-4FB40DDBC2E6
                Case 1:25-cv-00078-3JP            Document 10-1   Filed 05/13/25   Page 117 of 187




                                            EXHIBIT 6
Docusign Envelope ID: FA22AE7C-8A77-4C30-B35F-4FB40DDBC2E6
              Case 1:25-cv-00078-3JP            Document 10-1   Filed 05/13/25   Page 118 of 187
Docusign Envelope ID: FA22AE7C-8A77-4C30-B35F-4FB40DDBC2E6
                Case 1:25-cv-00078-3JP            Document 10-1   Filed 05/13/25   Page 119 of 187




                                            EXHIBIT 7
Docusign Envelope ID: FA22AE7C-8A77-4C30-B35F-4FB40DDBC2E6
                 Case 1:25-cv-00078-3JP                  Document 10-1            Filed 05/13/25          Page 120 of 187
                                                                                                                             Spielcraft Games LLC
                                                                                                                                 Checking

                                       Your receipt from Mercury
                                       April 7, 2025                                          Status: Sent


                                                                  Domestic Wire

                                                               $4,273.20
                                                                to MGL (USA) Inc.


                                       Tracking Details
                                       Tracking number                   20250407MMQFMP4S002731


                                       Recipient’s Bank Details
                                       Routing Number
                                       Account Number


                                       Memo for recipient
                                       “Invoice MGL-AR102022”


                                       Cost Breakdown
                                       Recipient Name                                    MGL (USA) Inc.
                                       Amount                                               $4,273.20
                                       Wire Cost                                                $0.00
                                       Total Paid                                           $4,273.20




        Transaction ID: 4075b0ac-13bf-11f0-a2de-37910924c677                          Email us at help@mercury.com if you have any questions
Docusign Envelope ID: FA22AE7C-8A77-4C30-B35F-4FB40DDBC2E6
                Case 1:25-cv-00078-3JP            Document 10-1   Filed 05/13/25   Page 121 of 187




                                            EXHIBIT 8
Docusign Envelope ID: FA22AE7C-8A77-4C30-B35F-4FB40DDBC2E6
                       Case 1:25-cv-00078-3JP                                    Document 10-1                       Filed 05/13/25                     Page 122 of 187
                                                                                                                                                               
                                                                                                                                                                          
                                                                                                                                
                                                                             
                                                                              
                                                                                      
                                                                                           
                                                                                                                                                   
                                                                                                                          
                                                                                                                                                                           
                                                                                                                              
                                                                                                                                                           
                                                                                                   
                                                                                                                                                                  
                                                                                                     
                                                                                                     
                                                                            
                                                                                                 
                                                                                                      


                                                                                                                                                 
                                                                                                                                                                                  
                                            
                                                                                                                                                                
                                                                                                                      
                                                                                                                             
                                                                                    

                                                                                       
              

              
           
                                                                                                                                                             
                                                                                                                                      
                                                                                                                           
              
                                                                                                                                                                    

                                                                                                                           
                                                                                                                                                                  
                                                                                                                                                                       

              
                                                                                   
                                                              
                                                                               

                                 
                                                                                                                                                                 
                         
                                                                                                                                         
                          
                                                                                                                                                                                              
                                                          
                                                                                                                                               
                                                                                                                                                                                                     
                                                           
   
                                                                                                       
                                                                                                                                                                   
                                 
                                                                                                                        
                                                                                                                                             
                  
    
                                                                                         
    
                                                               
    
    
    
    
                                                                                                                                                          
                                                                                                                                                       
                                                        
                                                                                      
    
                                                                                                                                  
  
Docusign Envelope ID: FA22AE7C-8A77-4C30-B35F-4FB40DDBC2E6
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                                            EXHIBIT 9
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Docusign Envelope ID: FA22AE7C-8A77-4C30-B35F-4FB40DDBC2E6
                       Case 1:25-cv-00078-3JP                            Document 10-1                     Filed 05/13/25                   Page 125OMB
                                                                                                                                                     of APPROVAL
                                                                                                                                                         187 NO. 1651-0022
                                                                                                                                                                 EXPIRATION DATE. 03/31/2025
                                                                                                                      CST #: HBA
                                                                    DEPARTMENT OF HOMELAND SECURITY
                                                                      U.S. Customs and Border Protection
                                                                              ENTRY SUMMARY
 1. Filer Code / Entry No.            2. Entry Type             3. Summary Date           4. Surety Number            5. Bond Type              6. Port Code                  7. Entry Date
 GV8-2501798-3                         01 ABI/A                    04/15/2025                   036                            8                  2704                         04/03/2025
8. Importing Carrier                                  9. Mode of Transport                               10. Country of Origin                                               11. Import Date
  COSCO ITALY                                          10                                                  CN                                                                  04/02/2025
12. B/L or AWB No.                                    13. Manufacturer ID                                14. Exporting Country                                               15. Export Date
  CMDUCHN2117905                                       CNLONGAM8018SHA                                     CN                                                                  03/18/2025
16. I.T. No.                    17. I.T. Date                      18. Missing Docs                      19. Foreign Port of Lading                         20. U.S.Port of Unlading
                                                                                                           57035                                              2709
21. Location of Goods / G.O. No.                      22. Consignee No.                                  23. Importer No.                                   24. Reference No.
  WAN2                                                 82-188917400                                        82-188917400
25. Ultimate Consignee Name and Address                                                                  26. Importer of Record Name and Address
  SPIELCRAFT GAMES LLC                                                                                     SPIELCRAFT GAMES LLC
  6723 S 109TH ST                                                                                          6723 S 109TH ST


 City    OMAHA                                        State   NE                Zip   68137-4736 City OMAHA                                                State    NE            Zip 68137-4736
                                                                                                                32.                          33.                              34.
  27.                                  28. Description of Merchandise
                                                                                                                                     A. HTSUS Rate                 Duty and I.R. Tax
                          29.                            30.                      31.                     A. Entered Value           B. ADA/CVD Rate
 Line        A. HTSUS No.                       A. Grossweight               Net Quantity in              B. CHGS                    C. IRC Rate                   Dollars              Cents
 No.         B. ADA/CVD No.                     B. Manifest Qty.             HTSUS Units                  C. Relationship            D. Visa No.

             M: CMDUCHN2117905                                                                 236 CTN
             H: CHKMSH25044882

            Invoice Number: 001 / PL202503100
        001 CN/HK EO 20% DUTY
            9903.01.24                                                3262                                             21677                              20%                            4335.40
                                                                                                                        C960
                                                                                                                 NOT RELATED
            BOARD GAMES,POKER CHIPS,DI
            9504.90.6000                                                                2491.00 NO                          21677                         FREE                                  0.00

                                                                                                                 NOT RELATED
            Merchandise Processing Fee                                                                                                             0.3464%                                     75.09
            Harbor Maintenance Fee                                                                                                                  0.125%                                     27.10

            Invoice Number: 001 / PL202503100
            Invoice Value                                                              US $21974.43
            -DISCOUNT                                          US $297.25
            Net Entered Value                                                          US $21677.18

Other Fee Summary for Block 39                        35. Total Entered Value
                                                                                                            CBP USE ONLY                                           TOTALS
 499 Merchandise Process Fee                $75.09
                                                        $     21677                                      A. LIQ CODE               B. Ascertained Duty             37. Duty
 501 Harbor Maintenance Fee                 $27.10
                                                                                                                                                                                    4,335.40
                                                      Total Other Fees
                                                                                                         REASON CODE               C. Ascertained Tax              38. Tax
                                                        $     102.19                                                                                                                      0.00
 36. DECLARATION OF IMPORTER OF RECORD ( OWNER OR                                                                                  D. Ascertained Other            39. Other
   PURCHASER) OR AUTHORIZED AGENT                                                                                                                                                      102.19
 I declare that I am the   o Importer of record and that the actual owner,                                                         E. Ascertained Total            40. Total
 purchaser, or consignee for CBP purposes is as shown above,                                                                                                                        4,437.59
                                                                       OR             x owner
  or purchaser or agent thereof. I further declare that the merchandise
                                                                                      x was obtained pursuant to a purchase or agreement to purchase and that the
  prices set forth in the invoices are true,     OR      o was not obtained pursuant to a purchase or agreement to purchase and the statements in the invoices as
  to value or price are true to the best of my knowledge and belief. I also declare that the statements in the documents herein filed fully disclose to the best
  of my knowledge and belief the true prices,values,quantities,rebates,drawbacks,fees commissions, and royalties and are true and correct, and that all
  goods or services provided to the seller of the merchandise either free or at reduced cost are fully disclosed.
  I will immediately furnish to the appropriate CBP officer any information showing a different statement of facts.
41. DECLARANT NAME                                                        TITLE                           SIGNATURE                                                            DATE
  Dat Tu                                                               ATTY-IN-FACT                                                                           4/24/2025 11:00:56
42. Broker / filer information (Name,address, phone number)                                              43. Broker / Importer File No.
  DELTAMAX CUSTOMS SERVICE, INC.                                                                          000 / 02501798 OI854301
  3952 Cerritos Ave.
  Los Alamitos,CA 90720                                                      Tel: 562 240-5343                                                               STATEMENT TYPE: 2
CBP Form 7501 (5/22)
Docusign Envelope ID: FA22AE7C-8A77-4C30-B35F-4FB40DDBC2E6
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                                          EXHIBIT 10
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Docusign Envelope ID: FA22AE7C-8A77-4C30-B35F-4FB40DDBC2E6
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Docusign Envelope ID: FA22AE7C-8A77-4C30-B35F-4FB40DDBC2E6
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                                          EXHIBIT 11
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                                                                                                                            Spielcraft Games LLC
                                                                                                                                Checking

                                      Your receipt from Mercury
                                      May 5, 2025                                            Status: Sent


                                                                 Domestic Wire

                                                              $1,742.50
                                                               to MGL (USA) Inc.


                                      Tracking Details
                                      Tracking number                   20250505MMQFMP4S001492


                                      Recipient’s Bank Details
                                      Routing Number
                                      Account Number


                                      Memo for recipient
                                      “Spielcraft Games MGL-AR102209; Contractor:customs
                                      brokerage”


                                      Cost Breakdown
                                      Recipient Name                                    MGL (USA) Inc.
                                      Amount                                                $1,742.50
                                      Wire Cost                                                 $0.00
                                      Total Paid                                            $1,742.50




       Transaction ID: 3e473806-29bc-11f0-842e-37abec1605ae                          Email us at help@mercury.com if you have any questions
Docusign Envelope ID: 06C7A4BD-51A2-4586-B548-F1B2EF0A8993
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                           UNITED STATES COURT OF INTERNATIONAL TRADE

              PRINCESS AWESOME, LLC, ET AL.,

                               Plaintiffs,
                                                                   COURT NO. 25-00078
                      v.

              UNITED STATES CUSTOMS AND BORDER
              PROTECTION; ET AL.,

                               Defendants.

                                 DECLARATION OF JORDAN MCLAUGHLIN

                     I, Jordan McLaughlin, pursuant to 28 U.S.C. § 1746, declare as follows:

                     1.      I am the founder and owner of Rookie Mage Games, LLC, a Plaintiff in

            this matter.

                     2.      Rookie Mage Games, headquartered in Ohio, is a tabletop game

            publisher founded in 2018.

                     3.      In creating our tabletop games, Rookie Mage Games works with a

            manufacturer in Shanghai, China, that produces the board game sets and ships them

            yearly to our headquarters in New Albany, Ohio.

                     4.      Rookie Mage Games cannot produce the same quality games at its

            current price-structure within the United States.

                     5.      On December 17, 2024, Rookie Mage Games’ Chinese manufacturer

            started production on over 20,000 board game sets. The agreement required Rookie

            Mage Games to pay 50% of the $15,604.00 price at the start of production and the

            remainder due prior to shipping.

                     6.      Rookie Mage Games paid the initial deposit on December 23, 2024,
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            before promulgation of Executive Order 14195, which imposed a 10% ad valorem rate

            of duty on all articles produced in China and Executive Order 14228, which raised

            the ad valorem rate of duty on articles imported from China to 20%. See Executive

            Order 14195, Imposing Duties to Address the Synthetic Opioid Supply Chain in the

            People’s Republic of China, 90 Fed. Reg. 9121 (Feb. 7, 2025); Executive Order 14228,

            Further Amendment to Duties Addressing the Synthetic Opioid Supply Chain in the

            People’s Republic of China, 90 Fed. Reg. 11,463 (Mar. 7, 2025).

                     7.      These board game sets were imported on April 2, 2025, and subject to

            the 20% ad valorem rate of duty promulgated by Executive Order 14228.

                     8.      As a result, Rookie Mage Games paid $3,120.80 in tariffs levied by

            Defendant United States Customs and Border Protection (Customs) pursuant to

            Executive Order 14228. A true and correct copy of the entry summary, customs broker

            invoice, and proof of payment are attached to this Declaration as Exhibits 1, 2, and 3

            respectively.

                     9.      Following this order, on April 9, 2025, the President issued Executive

            Order 14266 which, together with Executive Order 14228, raised the tariff on goods

            imported from China to 145%. See Executive Order 14266, Modifying Reciprocal

            Tariff Rates to Reflect Trading Partner Retaliation And Alignment, 90 Fed. Reg.

            15,625 (Apr. 15, 2025); Joint Statement on U.S.-China Economic and Trade Meeting

            in Geneva (May 12, 2025), https://perma.cc/5CRS-D53A (setting 30% tariff to last only

            90 days).

                     10.     Rookie Mage Games was anticipating substantial growth in 2025 due to



                                                             2
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            new distribution deals. With the estimated need of inventory, however, its tariff costs

            could reach $49,300, far above any previous tariff rates would have required. At

            present, under Rookie Mage Games’ current product offerings, this is financially

            unviable.

                     11.     Instead, Rookie Mage Games has been forced to pause all new game

            development because it cannot afford to pay the tariff and marketing costs of a new

            game.

                     12.     Should a 145% tariff resume following the 90-day agreement, Rookie

            Mage Games would need to drastically scale back production and distribution, or

            reconsider its pricing and other business practices. See Joint Statement on U.S.-

            China       Economic         and      Trade      Meeting   in   Geneva      (May   12,   2025),

            https://perma.cc/5CRS-D53A. Rookie Mage Games would not be able to produce as

            many games, especially new games, and customers would be forced to pay a higher

            cost for each game.

                     13.     These tariff increases harm Rookie Mage Games and its customers by

            increasing the costs of each game, interrupting the functionality of the supply chain,

            and jeopardizing the continued operations of the business altogether.

                     14.     Because many other goods in the United States may likewise increase,

            Rookie Mage Games fears the inability of Americans to pay increased costs of

            entertainment further harming Rookie Mage Games financially.

                     15.     As a direct result of these uncertain tariff increases, Rookie Mage Games

            must consider all options for future imports including cancelling or pausing orders,



                                                                3
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            raising prices, transferring production to other countries, storing goods, utilizing

            expedited shipping, and prematurely maximizing orders beyond current inventory

            need to avoid additional increases in the future.

                             Ex. 1: Customs Entry Summary (Apr. 15, 2025)

                             Ex. 2: Customs Broker Invoice (Apr. 10, 2025)

                             Ex. 3: Wire Confirmation (Apr. 14, 2025)

                     16.      I declare under penalty of perjury that the foregoing is true and correct.

            Executed on May 13, 2025, within the United States.




                                                                   /s/
                                                                   JORDAN MCLAUGHLIN




                                                             4
Docusign Envelope ID: 06C7A4BD-51A2-4586-B548-F1B2EF0A8993
                Case 1:25-cv-00078-3JP             Document 10-1   Filed 05/13/25   Page 135 of 187




                                             EXHIBIT 1
Docusign Envelope ID: 06C7A4BD-51A2-4586-B548-F1B2EF0A8993
                   Case 1:25-cv-00078-3JPDEPARTMENT
                                            DocumentOF10-1  FiledSECURITY
                                                       HOMELAND   05/13/25                                             Page 136OMB
                                                                                                                                of APPROVAL
                                                                                                                                    187 NO. 1651-0022
                                                                                                                               EXPIRATION DATE 03/31/2025
                                                                U.S. Customs and Border Protection

                                                                      ENTRY SUMMARY
  1. Filer Code/Entry Number           2. Entry Type           3. Summary Date 4. Surety Number 5. Bond Type 6. Port Code                7. Entry Date
   9GK-0113025-5                        01 ABI/A               04/14/25            856                  8               2704              04/02/25
  8. Importing Carrier                           9. Mode of Transport                10. Country of Origin                               11. Import Date
   COSCO ITALY                                    11                                  CN                                                  04/02/25
  12. B/L or AWB Number                          13. Manufacturer ID                 14. Exporting Country                               15. Export Date
  CMDU CHN2109087, SHA25030001                          CNHENINT1500SHA CN                                                                03/18/25
  16. I.T. Number                   17. I.T. Date               18. Missing Docs     19. Foreign Port of Lading              20. U.S. Port of Unlading
                                                                                      57035                                  2704
  21. Location of Goods/G.O. Number 22. Consignee Number                             23. Importer Number                     24. Reference Number
                                             83-231130000                             83-231130000
  25. Ultimate Consignee Name (Last, First, M.I.) and Address                        26. Importer of Record Name (Last, First, M.I.) and Address
   ROOKIE MAGE GAMES LLC                                                              ROOKIE MAGE GAMES LLC
   Street: 6093 AVATAR DR                                                             Street: 6093 AVATAR DR

  Destination: CA                      Customer Reference # IWOI-15833
  City: NEW ALBANY                          State: OH Zip: 43054-4000 City: NEW ALBANY                                         State: OH Zip: 43054-4000
                                                                                             32.                       33.                        34.
     27.                  28. Description of Merchandise                              A. Entered Value          A. HTSUS Rate               Duty and IR Tax
    Line             29.                 30.               31.                            B. CHGS               B. AD/CVD Rate
     No.        A. HTSUS No.     A. Gross Weight      Net Quantity in                                                                    Dollars          Cents
                                                                                       C. Relationship            C. IRC Rate
                B. AD/CVD No.    B. Manifest Qty.      HTSUS Units                                              D. Visa Number
                                                                          838 CTN
      001 CN/HK EO 20% DUTY
          9903.01.24        5,527 KG                                                                         20%                                     $3,120.80
          BOARD GAMES,POKER CHIPS,DICE
          9504.90.6000                                              4,857.50 NO                 $15,604 FREE                                              $0.00
                                                                                               C $2,500
                                                                                                      N
                                        499 - Merchandise Processing Fee                                 0.3464%                                         $54.05
                                        501 - Harbor Maintenance Fee                                     0.1250%                                         $19.51

             Totals for Invoice                                    Invoice Value               +/- MMV           Exchange                    Entered Value
             PL202503032                                         15,604.00 USD                                    1.00000                   15,604.00 USD




  Other Fee Summary (for Block 39)  35. Total Entered Value
                                                                                                 CBP USE ONLY                                  TOTALS
  499 - MPF                  $54.05                                                  A. LIQ Code            B. Ascertained Duty          37. Duty
  501 - HMF                  $19.51 $ 15,604
                                    Total Other Fees                                                                                                 $3,120.80
                                                                                     REASON CODE            C. Ascertained Tax           38. Tax
                                            $ 73.56
  36. Declaration of Importer of Record (Owner or Purchaser) or                                             D. Ascertained Other         39. Other
  Authorized Agent
                                                                                                                                                         $73.56
   I declare that I am the   Importer of record and that the actual owner,                                  E. Ascertained Total         40. Total
   purchaser, or consignee for CBP purposes is as shown above, OR          owner                                                                     $3,194.36
   or purchaser or agent thereof. I further declare that the merchandise        was obtained pursuant to a purchase or agreement to purchase and that the
   prices set forth in the invoices are true, OR      was not obtained pursuant to a purchase or agreement to purchase and the statements in the invoices as
   to value or price are true to the best of my knowledge and belief. I also declare that the statements in the documents herein filed fully disclose to the best
   of my knowledge and belief the true prices, values, quantities, rebates, drawbacks, fees, commissions, and royalties and are true and correct, and that all
   goods or services provided to the seller of the merchandise either free or at reduced cost are fully disclosed.
   I will immediately furnish to the appropriate CBP officer any information showing a different statement of facts.
  41. Declarant Name (Last, First, M.I.)               Title                                    Signature                                   Date
  Stacy Han / Atty-In-Fact                                                                                                                  03/15/25
  42. Broker/Filer Information Name (Last, First, M.I.) and Phone Number             43. Broker/Importer File Number
  S & H Customs Broker, Inc.                                                         0113025 / IWOI-15833
  13810 Cerritos Corporate Drive, Suite B
  Cerritos, CA 90703 310-337-1222

  CBP Form 7501 (5/22)                                                                                                                                Page 1 of 1
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                                             EXHIBIT 2
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Docusign Envelope ID: 06C7A4BD-51A2-4586-B548-F1B2EF0A8993
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                                             EXHIBIT 3
Docusign Envelope ID: 06C7A4BD-51A2-4586-B548-F1B2EF0A8993
                Case 1:25-cv-00078-3JP             Document 10-1          Filed 05/13/25    Page 140 of 187


                                                         Wednesday, April 23, 2025 at 19:42:48 Eastern Daylight Time

         Subject: Your Wire Transfer Conﬁrmation
         Date:    Monday, April 14, 2025 at 2:43:11 PM Eastern Daylight Time
         From:    Wright-Patt Credit Union
         To:              @rookiemage.com


         Your wire transfer on 04/14/25, in the amount of $8,865.59, was successfully sent to iWin Group Corp at
         JPMCHASE.

         Contact Wright-Patt Credit Union at (937) 912-7525 if you have any questions regarding this transaction.
         Refer to wire sequence number 77870 in your inquiry.

         Debited from account number ending with
         Wire Fee: $20.00


         IMAD: 20250414GMQFMP01024704
         OMAD:
         20250414MMQFMP2H10277504141442FT01

         Beneficiary Information
         417 S Associated Road #166
         Brea, CA 92821

         Invoice: IWOI-15833

         -------------------------------------------------------
         Unless otherwise indicated or obvious from the
         nature of this transmission, the information
         contained in this message is privileged and
         confidential, intended for the use of the
         intended recipient named above. If the reader is
         not the intended recipient, you are hereby
         notified that any dissemination, distribution or
         copying of this message is prohibited. If you
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                                                                                                                       1 of 2
Docusign Envelope ID: 06C7A4BD-51A2-4586-B548-F1B2EF0A8993
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         this message, along with any attachments from
         your computer.




                                                                                                      2 of 2
Docusign Envelope ID: EB71DC3F-F153-4797-9C18-02AD9F9EFE14
                Case 1:25-cv-00078-3JP             Document 10-1   Filed 05/13/25   Page 142 of 187




                           UNITED STATES COURT OF INTERNATIONAL TRADE

              PRINCESS AWESOME, LLC, ET AL.,

                              Plaintiffs,
                                                                   COURT NO. 25-00078
                      v.

              UNITED STATES CUSTOMS AND BORDER
              PROTECTION; ET AL.,

                              Defendants.

                                        DECLARATION OF NOAH MILLER

                     I, Noah Miller, declare under penalty of perjury that the following is true and

            correct to the best of my present knowledge, information, and belief:

                     1.      I am President of XYZ Game Labs, Inc., a Plaintiff in this matter.

                     2.      XYZ Game Labs, an Illinois corporation, is a tabletop game publisher

            founded in November 2016.

                     3.      XYZ Game Labs’ mission is to create engaging experiences that are

            beautiful and accessible.

                     4.      In creating our tabletop games, XYZ Game Labs works with a

            manufacturer in Shanghai, China, that produces the board-game sets and ships them

            to our headquarters in Aurora, Illinois.

                     5.      In March 2025, XYZ Game Labs’ manufacturer started production on

            over 10,500 units of board-game sets, at a cost of $23,960.00, and 2,000 units at a cost

            of $940.00. The agreements require 30% due at the start of production, with the

            remainder due upon completion prior to shipment.

                     6.      XYZ Game Labs paid an initial $9,988.00 deposit on March 21, 2025,
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                Case 1:25-cv-00078-3JP             Document 10-1   Filed 05/13/25   Page 143 of 187




            prior to promulgation Executive Order 14266, which together with Executive Order

            14228 raised tariffs on goods imported from China to 145%. See Executive Order

            14228, Further Amendment to Duties Addressing the Synthetic Opioid Supply Chain

            in the People’s Republic of China, 90 Fed. Reg. 11,463 (Mar. 7, 2025); Executive Order

            14266, Modifying Reciprocal Tariff Rates to Reflect Trading Partner Retaliation And

            Alignment, 90 Fed. Reg. 15,625 (Apr. 15, 2025). True and correct copies of the invoices

            and proof of payment are attached to this Declaration as Exhibits 1, 2, and 3,

            respectively.

                     7.      The estimated shipment date for these orders is May 2025.

                     8.      As of the date of this Declaration, due to the 90-day agreement, XYZ

            Game Labs anticipates a 30% tariff. See Joint Statement on U.S.-China Economic

            and Trade Meeting in Geneva (May 12, 2025), https://perma.cc/5CRS-D53A. This is

            far more than we have ever paid in tariffs and drastically exceeds the budget for these

            product lines.

                     9.      XYZ Game Labs is faced with the predicament of paying the increased

            tariffs or losing not only its deposit, but also the goods it expected to begin selling in

            May and the profits from those sales.

                     10.     As a direct result of the uncertain tariff increases, we are forced to pause

            all future projects indefinitely.

                     11.     The uncertainty caused by the increased tariffs has completely

            paralyzed us strategically. It is impossible to make business decisions that could be

            significantly impacted in the next 90 days, or even in the next week. And, because we



                                                             2
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            have lead times between six months and a year, we cannot order goods today without

            clear indication of what the tariff will be upon completion.

                     12.     Even with a certain increase in place, XYZ Game Labs cannot sustain

            business with tariffs upwards of 145%. See Joint Statement on U.S.-China Economic

            and Trade Meeting in Geneva (May 12, 2025), https://perma.cc/5CRS-D53A (lasting

            only 90 days). We are a small company with a limited budget that cannot afford to

            pay exceedingly high tariff costs.

                             Ex. 1: Whatz Games Invoice (January 7, 2025)

                             Ex. 2: HJM Board Game Invoice (Undated)

                             Ex. 3: Wire to Whatz Games (Mar. 21, 2025)

                     13.      I declare under penalty of perjury that the foregoing is true and correct.

            Executed on May 13, 2025, within the United States.




                                                                   /s/
                                                                   NOAH MILLER




                                                             3
Docusign Envelope ID: EB71DC3F-F153-4797-9C18-02AD9F9EFE14
                Case 1:25-cv-00078-3JP             Document 10-1   Filed 05/13/25   Page 145 of 187




                                             EXHIBIT 1
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                Case 1:25-cv-00078-3JP                   Document 10-1              Filed 05/13/25             Page 146 of 187
                                              JIAXING WHATZ GAMES CO., LTD.
                                          No 1010 Kanghe Road, Jiaxing City, Zhejiang Province,314032, China
                                                            COMMERCIAL INVOICE
TO: M/S
XYZ game Labs                                                                                                      INVOICE NO.: WZG-XYZ20250107
 Adam McCrimmon
901 Clarendon Ln
Aurora, IL 60504
USA
                                                                                                                             DATE:      2025/1/7



From                 SHANGHAI PORT,CHINA                                                   To :
Letter of Credit No. BY T/T                                                                Issued by

Mark Numbers                                     Quantities and Descriptions                                              Unit Price    Amount

                                                      BOARD GAME

                                   2000         PCS    Enchanted theme pack #40560                                $2.25                $4,500.00

                                   2000         PCS    Cryptid theme pack #40561                                  $2.24                $4,480.00

                                   2000         PCS    Cuddles theme pack #40562                                  $2.24                $4,480.00

                                   2000         PCS    Dino theme pack #40563                                     $2.24                $4,480.00

                                   2000         PCS    ArchRavels Magic Socks #40564                              $2.33                $4,660.00

                                   500          PCS    Add on--Yarn Tokens                                        $2.72                $1,360.00

                                                                                                               SUBTOTAL:               $23,960.00

                                                                                                           30% DEPOSIT:                $7,188.00

                                                                                                          TOOLING COST                 $2,800.00

                                                                                                    TOTAL DEPOSIT AMOUNT:              $9,988.00


Special notes – Please note that we will NOT change our bank account number or ask you to transfer the payment to a 3 rd party. If we do, this
is possibly a scam. Please set up a conference call with us immediately for further clarification and hold your payment for 3 working days after
clarification. In the future if we have plans to change our bank info, we will make official announcement on our Web site, Facebook and IG.

During the call, you may also ask us some security questions that only we both know the answers, as the AI can fake our face and voice. The
questions ideally can be
1.When and where we met last time
2.Your old colleague name that had left the company. ( When and who and in which dept )
3.Some old small details that happen long time ago in a particular project




Bank Details

Beneficiary:       JIAXING WHATZ GAMES CO., LTD.
                   NO 1010 KANGHE ROAD,JIAXING CITY, ZHEJIANG PROVINCE, 314032, CHINA


T/T Advising Bank: AGRICULTURAL BANK OF CHINA
                   No. 461 XIEXI ROAD,NANHU DISTRICT
                   JIAXING CITY, ZHEJIANG PROVINCE, CHINA

Swift Code:        ABOCCNBJ

Account No :

                                                                                                               JIAXING WHATZ GAMES CO., LTD.
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                                             EXHIBIT 2
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                                                                                                                       Case 1:25-cv-00078-3JP   Document 10-1      Filed 05/13/25    Page 148 of 187




                                                                                                               HJM Board Game Co., Ltd.
                                                                                                                                                                                     Add: Rm 1311 Kexin Building No.188 Liaoning Road Qingdao Chi

                                                                                                                          BOM and Quoting Sheet
                                                  Project Title:                                                                                                           Project No.:
                                                  To：                                                                                                                      Prepared by:         Jerry Wang
                                                  Attn:                                                                                                                    HP:                  86-018661782779
                                                  Date:                                                                                                                    Email：               Hijeihe@hyplayingcard.com

                                                                   SPECIFICATION
                                                                   Paper Components                                                                                                                                 Packaging
                                                  Player Mat                              360*250mm          4C/0C          2mm rubber Mat           No edge stitching              1

                                                                       Packing        Opp Bag Packaging

                                                                                                                                  Quoting Sheet
                                                                       Quantity          Exw Price USD    Carton Number      Carton Size (cm)       Number of Cartons       Gross Weight (KG)                     Volume （CBM）                      Total

                                                                        2000                 0.47              50              32*32*32                    40                                                                                       940

                                                  HS Code:                            Board Game          9504904000

                                                  Lead Time：                          Pre-sample          20 days

                                                                                      Mass Productions 45 days since the deposit received

                                                  Payment Terms：                      T/T; 30% deposit; the balance paid after mass production piror to delivery
Docusign Envelope ID: EB71DC3F-F153-4797-9C18-02AD9F9EFE14
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                                             EXHIBIT 3
Docusign Envelope ID: EB71DC3F-F153-4797-9C18-02AD9F9EFE14
 5/13/25, 7:50 AM Case 1:25-cv-00078-3JP            Document 10-1       Filed
                                                               Wire activity      05/13/25
                                                                             - chase.com                                                                                                      Page 150 of 187
                                                                                                            Printed from Chase for Business



  Wire date                           Status                Wire to                           Transaction number                                                                                 Transfer amount        Amount

  Mar 21, 2025                        Sent                  Whatz Games                                                                                                                                $9,988.00   $9,988.00 USD




    Account Details


                                                                                         Wire to    Whatz Games (...3336)

                                                                                      Wire from     BUS COMPLETE CHK (...7773)

                                                                                          Status    Sent

                                                                                    Status date     Mar 21, 2025

                                                                           Transaction number

                                                                             Reference number       3296605080ES

    Sender information


                                                                                         Sender     XYZ GAME LABS, INC.
                                                                                                    6493 N NORTHWEST HWY APT 405
                                                                                                    CHICAGO, IL 606311893
                                                                                                    United States of America

                                                                           Purpose of payment       Invoice Payment

                                                                                      Wire date     Mar 21, 2025

                                                                                   Wire amount      $9,988.00 USD (U.S. Dollars)

                                                                      Outgoing wire transfer fee    $40.00 USD (U.S. Dollar)


                                                                                           Total    $10,028.00 USD (U.S. Dollar)
                                                                                                    Your account activity will show separate charges for wire amount and wire transfer fee.


                                                                                  Scheduled on      03/21/2025 11:01:30 AM ET

    Recipient Information


                                                                                       Recipient    JIAXING WHATZ GAMES CO LTD
                                                                                                    NO 1010 KANGHE ROAD
                                                                                                    JIAXING CITY, ZHEJIANG PROVINCE
                                                                                                    China

    Additional Information


                                                                           Message to recipient     None

                                                                          Additional routing info   None

                                                                                          Memo      AR MS Deposit

                                                                                   Submitted by     Administrator

                                                              Submitted by date and timestamp       03/21/2025 11:01:30 AM ET

                                                                               Last modified by     Not Available

                                                                Modified by date and timestamp      03/21/2025 11:17:23 AM ET

    The terms of the Wire Agreement apply to these wires.




 https://secure.chase.com/web/auth/dashboard#/dashboard/wires/activity/allActivity                                                                                                                                           1/1
Docusign Envelope ID: F93AD2C4-6110-4AB2-9B82-01C295DFB992
                Case 1:25-cv-00078-3JP             Document 10-1   Filed 05/13/25   Page 151 of 187




                           UNITED STATES COURT OF INTERNATIONAL TRADE

              PRINCESS AWESOME, LLC, ET AL.,

                               Plaintiffs,
                                                                   COURT NO. 25-00078
                      v.

              UNITED STATES CUSTOMS AND BORDER
              PROTECTION; ET AL.,

                               Defendants.

                                     DECLARATION OF CHRIS MARSHALL

                     I, Chris Marshall, pursuant to 28 U.S.C. § 1746, declare as follows:

                     1.      I am the managing partner of Tinkerhouse, Inc., a Plaintiff in this

            matter.

                     2.      Tinkerhouse, incorporated in Washington in 2011, is a tabletop

            roleplaying-game accessory producer.

                     3.      In creating its roleplaying game accessories, Tinkerhouse works with a

            manufacturer in Shanghai, China, that produces the board-game sets and ships them

            to the United States.

                     4.      In November 2024, Tinkerhouse’s manufacturer started production on

            9,175 game sets at a cost of $76,912.25. The agreement required 30% due on order

            confirmation, with the remainder due before shipment.

                     5.      Tinkerhouse paid the initial deposit of $25,473.68 and another $5,000

            for tooling on November 27, 2024, before promulgation of Executive Order 14228 and

            Executive Order 14266, which together raised tariffs on goods imported from China

            to 145%. See Executive Order 14228, Further Amendment to Duties Addressing the
                                                             1
Docusign Envelope ID: F93AD2C4-6110-4AB2-9B82-01C295DFB992
                Case 1:25-cv-00078-3JP             Document 10-1   Filed 05/13/25   Page 152 of 187




            Synthetic Opioid Supply Chain in the People’s Republic of China, 90 Fed. Reg. 11,463

            (Mar. 7, 2025); Executive Order 14266, Modifying Reciprocal Tariff Rates to Reflect

            Trading Partner Retaliation And Alignment, 90 Fed. Reg. 15,625 (Apr. 15, 2025).

            True and correct copies of the invoice and proof of payment are attached to this

            Declaration as Exhibits 1 and 2, respectively.

                     6.      The estimated completion date is July 2025 meaning on the water is

            between July - August and land of order between October-November 2025.

                     7.      As of the date of this Declaration, due to the 90-day agreement

            announced on May 12, 2025, Tinkerhouse anticipates a tariff in the amount of

            $23,073.68. See Joint Statement on U.S.-China Economic and Trade Meeting in

            Geneva (May 12, 2025), https://perma.cc/5CRS-D53A.

                     8.      As a result of the increased tariffs, Tinkerhouse is faced with the

            predicament of paying the increased tariffs or losing not only its deposit and tooling

            payment ($30,473.68), but also the goods it expected to begin selling upon arrival and

            the profits from those sales. Some of the product we are receiving is slated for

            Crowdfunded fulfillment meaning the product has already been sold. For these

            orders, we do not have the ability to raise prices to reflect tariff increases.

                     9.      Tinkerhouse cannot sustain its business with substantial tariff

            increases in place. See Joint Statement on U.S.-China Economic and Trade Meeting

            in Geneva (May 12, 2025), https://perma.cc/5CRS-D53A (lasting only 90 days). It is a

            creative small business that utilizes crowdfunding as its primary source of sales. Our

            recent campaign was a success with global demand from players. We carefully



                                                             2
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            planned a freight strategy with multiple fulfillment hubs to minimize shipping costs

            and our carbon footprint. But, as mentioned, this crowdfunding did not take into

            account the unexpected tariff increases. Because the tariff increases have blind-sided

            us both financially and logistically, we may not be able to fulfill our customer base in

            the United States, and we may have to consider other distribution options to proceed

            with this production run, but we may not be able to fulfill to our US customer base.

            We cannot distribute through existing wholesale channels and keep our MSRP

            something the free market will bear.

                     10.     As a direct result of the tariff increases, all of Tinkerhouse’s shipping

            plans are in flux. We are scrambling to rework our logistics; considering a Canadian-

            bound shipment to protect that portion of our market; and investigating bonded

            warehouses, Foreign Trade Zones, and temporary “in-bond” transit options for the

            United States. But each of these adds costs and complexity.

                     11.     Outside of the tariff cost, Tinkerhouse’s biggest problem is the

            uncertainty caused by the tariffs. We cannot plan future products or print runs

            without knowing whether we will be priced out of our own market by the next round

            of policy shifts. We also do not know whether customers will be able to afford any

            costs that we must pass on to them merely to break even or achieve even minor profit

            margins to stay afloat.

                     12.     Additionally, Tinkerhouse cancelled their participation in the trade

            mission due to uncertainty of getting our product in time (estimated shipping route

            issues like in 2020 due to market chaos) and because of overall perception of US based



                                                             3
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            companies.

                     13.     Although Tinkerhouse’s owners have long dreamed of sourcing and

            manufacturing in North America, the infrastructure simply does not exist here at the

            scale or cost needed for small-batch creative companies like ours.

                     14.     The tariffs have forced Tinkerhouse to pause and reevaluate its entire

            operations. We are exploring manufacturing in other countries despite the higher

            costs, but we are also considering temporarily shutting down operations if the tariffs

            are sustained.

                     Ex. 1: Whatz Games Co. Invoice (Nov. 27, 2024)

                     Ex. 2: Initial Deposit (Nov. 27, 2024)

                     15.     I declare under penalty of perjury that the foregoing is true and correct.

            Executed on May 13, 2025, Seattle, WA, United States.




                                                                   /s/
                                                                   CHRIS MARSHALL




                                                             4
Docusign Envelope ID: F93AD2C4-6110-4AB2-9B82-01C295DFB992
                Case 1:25-cv-00078-3JP             Document 10-1   Filed 05/13/25   Page 155 of 187




                                             EXHIBIT 1
Docusign Envelope ID: F93AD2C4-6110-4AB2-9B82-01C295DFB992
                 Case 1:25-cv-00078-3JP               Document 10-1                Filed 05/13/25        Page 156 of 187
                                        JIAXING WHATZ GAMES CO., LTD.
                                    No 1010 Kanghe Road, Jiaxing City, Zhejiang Province,314032, China
                                                     PERFORMANCE INVOICE
TO: M/S



                                                                                                                    NO.: WZG-TH20241127
Tinker House Games

                                                                                                                  DATE:      2024/11/27
From                    SHANGHAI PORT,CHINA                                                      To :
Letter of Credit No.    BY T/T                                                                   Issued by

Mark Numbers                                         Quantities and Descriptions                               Unit Price     Amount

                                                          BOARD GAME                                         ex-work

                                     2,000     PCS   The Vault of Mini Things                                  $20.33        $40,660.00

                                      500      PCS   Dungeon Terrain - Add-on                                   $9.58        $4,790.00

                                      500      pcs   Village Terrain - Add-on                                  $10.76        $5,380.00

                                      500      pcs   Wilderness Terrain - Add-on                                $8.20        $4,100.00

                                      500      pcs   Graveyard Terrain - Add-on                                $13.03        $6,515.00

                                      500      pcs   Ruins Terrain - Add-on                                     $7.26        $3,630.00

                                      500      pcs   Pouch of Mini Things - Minions                             $2.17        $1,085.00

                                      500      pcs   Pouch of Mini Things - Aquatic                             $2.18        $1,090.00

                                      500      pcs   Pouch of Mini Things - Cavern Creatures                    $2.18        $1,090.00

                                      500      pcs   Pouch of Mini Things - Undead                              $1.45         $725.00

                                      500      pcs   Pouch of Mini Things - Village                             $1.38         $690.00

                                      500      pcs   Standee Bases Pack                                         $1.86         $930.00

                                     1,500     pcs   Kickstarter Extras                                         $2.72        $4,080.00

                                      175      pcs   Custom Vault Carrying Case                                $12.27        $2,147.25

                                                                                                              SUBTOTAL:      $76,912.25

                                                                                         tooling cost for standee bases:     $3,500.00

                                                                                                    tolling cost for clips   $2,700.00

                                                                                                   tooling cost for trays    $1,200.00

                                                                                                   Total Amount $84,312.25



Special notes – Please note that we will NOT change our bank account number or ask you to transfer the payment to a 3rd party. If we
do, this is possibly a scam. Please set up a conference call with us immediately for further clarification and hold your payment for 3
working days after clarification. In the future if we have plans to change our bank info, we will make official announcement on our Web
site, Facebook and IG.

During the call, you may also ask us some security questions that only we both know the answers, as the AI can fake our face and voice.
The questions ideally can be
1.When and where we met last time
2.Your old colleague name that had left the company. ( When and who and in which dept )
3.Some old small details that happen long time ago in a particular project
Docusign Envelope ID: F93AD2C4-6110-4AB2-9B82-01C295DFB992
Bank DetailsCase 1:25-cv-00078-3JP Document 10-1              Filed 05/13/25    Page 157 of 187

Beneficiary:         JIAXING WHATZ GAMES CO., LTD.
                     NO 1010 KANGHE ROAD,JIAXING CITY, ZHEJIANG PROVINCE, 314032, CHINA


T/T Advising Bank:   AGRICULTURAL BANK OF CHINA
                     No. 461 XIEXI ROAD,NANHU DISTRICT
                     JIAXING CITY, ZHEJIANG PROVINCE, CHINA

Swift Code:          ABOCCNBJ

Account No :

                                                                            JIAXING WHATZ GAMES CO., LTD.
Docusign Envelope ID: F93AD2C4-6110-4AB2-9B82-01C295DFB992
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                                             EXHIBIT 2
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Docusign Envelope ID: F93AD2C4-6110-4AB2-9B82-01C295DFB992
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Docusign Envelope ID: F93AD2C4-6110-4AB2-9B82-01C295DFB992
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Docusign Envelope ID: F93AD2C4-6110-4AB2-9B82-01C295DFB992
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Docusign Envelope ID: F93AD2C4-6110-4AB2-9B82-01C295DFB992
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Docusign Envelope ID: D7ADB873-BD36-455E-B70E-CF46FA4F1C2B
                Case 1:25-cv-00078-3JP            Document 10-1   Filed 05/13/25   Page 165 of 187




                           UNITED STATES COURT OF INTERNATIONAL TRADE

             PRINCESS AWESOME, LLC, ET AL.,

                              Plaintiffs,
                                                                  COURT NO. 25-00078
                      v.

             UNITED STATES CUSTOMS AND BORDER
             PROTECTION; ET AL.,

                              Defendants.


                                        DECLARATION OF KIM WOZNIAK

                    I, Kim Wozniak, pursuant to 28 U.S.C. § 1746, declare as follows:

                    1.       I am the owner of Reclamation Studio, LLC d/b/a WitsEnd Mosaic, a

            Plaintiff in this matter.

                    2.       WitsEnd Mosaic is a family owned and operated mosaic art supply store

            headquartered in Pulaski, Wisconsin.

                    3.       We regularly import goods for our business from Turkey, Italy, Hong

            Kong, Mexico, Argentina, Taiwan, and Japan. We also buy products from Portugal

            and India through distributors.

                    4.       The cadence of our imports varies by supplier and can occur anywhere

            from once per year to as frequent as once per month.

                    5.       In September 2024, WitsEnd Mosaic entered into an agreement for

            products from Turkey totaling $40,689.27. Under the terms of our agreement, we paid

            a $16,000 deposit on signing, with the remainder due prior to shipping. True and

            correct copies of the invoice and proof of payment for this transaction are attached to
Docusign Envelope ID: D7ADB873-BD36-455E-B70E-CF46FA4F1C2B
                Case 1:25-cv-00078-3JP            Document 10-1   Filed 05/13/25   Page 166 of 187




            this Declaration as Exhibits 1 and 2, respectively.

                    6.       WitsEnd Mosaic paid the initial deposit on January 27, 2025, prior to

            promulgation of Executive Order 14257, which imposed an ad valorem duty at 10%

            for all trading partners. See Executive Order 14257, Regulating Imports With A

            Reciprocal Tariff To Rectify Trade Practices That Contribute To Large and Persistent

            Annual United States Goods Trade Deficits, 90 Fed. Reg. 15,041 (Apr. 2, 2025).

                    7.       The estimated arrival date for the shipment is May 2025.

                    8.       On March 7, 2025, WitsEnd Mosaic placed an order for products from

            Italy. Under the terms of our agreement, WitsEnd Mosaic paid $20,000 deposit on

            April 21, 2025, with the remainder due upon arrival. True and correct copies of the

            invoice and proof of payment for this transaction are attached to this Declaration as

            Exhibits 3 and 4, respectively.

                    9.       WitsEnd Mosaic anticipates a 10% tariff on our partial order incoming

            from Italy, which is expected to arrive in May 2025. See Executive Order 14266,

            Modifying Reciprocal Tariff Rates to Reflect Trading Partner Retaliation And

            Alignment, 90 Fed. Reg. 15,625 (Apr. 15, 2025).

                    10.      On February 24, 2025, WitsEnd Mosaic placed an order for goods in

            Argentina. The order is still in process, and we have not received an estimated

            shipping date or total cost.

                    11.      On April 10, 2025, WitsEnd Mosaic also placed an order for goods in

            Japan totaling $35,909. The goods are expected to ship on May 19, 2025. We will be

            required to pay in full prior to shipping. A true and correct copy of the invoice is



                                                             2
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            attached to this Declaration as Exhibit 5.

                    12.      Because WitsEnd Mosaic regularly imports mosaic art supplies to the

            United States, we anticipate paying at least a 10% tariff on all future imports, the

            additional discounted reciprocal tariffs where applicable once the 90-day suspension

            ends, and increased tariffs from our goods coming from Hong Kong. See Executive

            Order 14257, Regulating Imports With A Reciprocal Tariff To Rectify Trade Practices

            That Contribute To Large and Persistent Annual United States Goods Trade Deficits,

            90 Fed. Reg. 15,041 (Apr. 2, 2025); Executive Order 14266, Modifying Reciprocal

            Tariff Rates to Reflect Trading Partner Retaliation And Alignment, 90 Fed. Reg.

            15,625 (Apr. 15, 2025); Joint Statement on U.S.-China Economic and Trade Meeting

            in Geneva (May 12, 2025), https://perma.cc/5CRS-D53A (lasting only 90 days).

                    13.      Moasaic materials are not made in the United States. By their nature,

            the traditional materials and tools come from Italy and Mexico. Over the course of

            time, other tiles were made in other countries, but American factories do not supply

            such a small market. As a result, we do not have the choice to buy American.

                    14.      The uncertainty caused by the tariffs is negatively impacting our

            business due to the unpredictability of having to place orders without knowing what

            the tariffs will be when they arrive. Even assuming the certainty of the existing

            tariffs, my customers cannot rely on my ability to pay that cost, or the increased costs,

            we must pass on to our customers to stay in business. This uncertainty has also

            caused us to order as much product from Mexico as we can afford.

                    15.      The tariffs impact not only my business and livelihood, but also that of



                                                             3
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            my children, grandchildren, and other employees. WitsEnd Mosaic has been in

            business with loyal customers for twenty years. Our business services artists and

            hobbyists, bringing them material they could not otherwise access. The tariff

            increases directly jeopardize the future of our business and if they are sustained, we

            may have to consider closing our business.

                    16.      As a direct result of these uncertain tariff increases, WitsEnd Mosaic

            must consider all options for future imports including cancelling or pausing orders,

            raising prices, transferring orders to other countries, storing goods, utilizing

            expedited shipping, and prematurely maximizing orders beyond current inventory

            need to avoid additional increases in the future.

                    Ex. 1: Turkey Order Invoice (Undated)

                    Ex. 2: Turkey Order Deposit (Jan. 27, 2025)

                    Ex. 3: Italy Order Invoice #1 (Apr. 30, 2025)

                    Ex. 4: Italy Order Deposit (Apr. 21, 2025)

                    Ex. 5: Japan Order Invoice (Apr. 24, 2025)

                    16.      I declare under penalty of perjury that the foregoing is true and correct.

            Executed on May 13, 2025, within the United States.




                                                                  /s/
                                                                  KIM WOZNIAK




                                                             4
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                                            EXHIBIT 1
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                                                                                                 MOSAIC AND CERAMICS INDUSTRIES INC.
                                              betebe ®
                                                                DAVUTPASA CAD. CEBE ALIBEY SOK NO:20
                                                                34010 TOPKAPI, ISTANBUL – TURKEY

                                    Bill To
               Order: BE001
               WitsEnd Mosaic                                   Phone:
               143 N. Saint Augustine St                        Email:    @witsendmosaic.com
               Pulaski, WI 54162



                        Line                      Code                   Order kg                Price per KG                              Total


               8 mm Square - Gloss
                          1                         11                                100                        $2.60                              $260.00
                          2                         31                                100                        $2.93                              $293.00
                          3                         32                                100                        $2.43                              $243.00
                          4                         35                                100                        $2.43                              $243.00
                          5                         45                                100                        $2.43                              $243.00
                          6                         48                                100                        $2.43                              $243.00
                          7                         53                                100                        $2.43                              $243.00
                          8                         55                                100                        $2.93                              $293.00
                          9                         59                                100                        $2.43                              $243.00
                         10                         61                                100                        $2.87                              $287.00
                         11                         66                                100                        $2.43                              $243.00
                         12                         69                                100                        $2.43                              $243.00
                         13                         87                                100                        $3.47                              $347.00
                         14                         90                                100                        $2.43                              $243.00
                         15                         98                                100                        $2.43                              $243.00
                         16                         99                                100                        $2.93                              $293.00
                         17                        103                                100                        $2.93                              $293.00
                         18                        106                                100                        $4.00                              $400.00


               8 mm Square - Iridized
                          1                         11                                100                        $4.93                              $493.00
                          2                         40                                100                        $4.76                              $476.00
                          3                         53                                100                        $4.76                              $476.00
                          4                         62                                100                        $4.76                              $476.00
                          5                         69                                100                        $4.76                              $476.00
                          6                         71                                100                        $5.80                              $580.00
                          7                         85                                100                        $6.33                              $633.00
                          8                         95                                100                        $4.76                              $476.00
                          9                        105                                100                        $5.26                              $526.00



               15 mm Square Gloss
                          1                         11                                100                        $2.45                               $245.00
                          2                         16                                100                        $2.32                               $232.00
                          3                         26                                100                        $2.32                               $232.00
                          4                         35                                100                        $2.32                               $232.00
                          5                         40                                100                        $2.32                               $232.00
                          6                         49                                100                        $2.70                               $270.00
                          7                         53                                100                        $2.70                               $270.00
                          8                         55                                100                        $2.70                               $270.20
                          9                         62                                100                        $2.32                               $232.00
                         10                         66                                100                        $2.32                               $232.00
                         11                         67                                100                        $2.32                               $232.00
                         12                         69                                100                        $2.32                               $232.00
                         13                         71                                100                        $3.11                               $311.00
                         14                         95                                100                        $2.32                               $232.00
                         15                         99                                100                        $2.70                               $270.00
                         16                        105                                100                        $2.70                               $270.00
                         17                        109                                100                       $13.18                             $1,318.00


               15 mm Square Iridized
                          1                        11                                 100                        $4.78                              $478.00
                          2                        16                                 100                        $4.65                              $465.00
                          3                        28                                 100                        $4.65                              $465.00
Docusign Envelope ID: D7ADB873-BD36-455E-B70E-CF46FA4F1C2B
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                        Line                      Code                 Order kg             Price per KG                              Total

                          4                         40                             100                      $4.65                               $465.00
                          5                         49                             100                      $5.03                               $503.00
                          6                         53                             100                      $4.65                               $465.00
                          7                         62                             100                      $4.65                               $465.00
                          8                         71                             100                      $5.44                               $544.00
                          9                        105                             100                      $5.03                               $503.00
                         10                        109                             100                     $15.51                             $1,551.00


               18 mm Penny Rounds
                          1                         11                             100                      $2.45                               $245.00
                          2                         13                             100                      $2.32                               $232.00
                          3                         26                             100                      $2.32                               $232.00
                          4                         28                             100                      $2.32                               $232.00
                          5                         40                             100                      $2.32                               $232.00
                          6                         45                             100                      $2.32                               $232.00
                          7                         67                             100                      $2.32                               $232.00
                          8                         69                             100                      $2.32                               $232.00
                          9                        105                             100                      $2.70                               $270.00
                         10                        109                             100                     $13.18                             $1,318.00



               18 mm Penny Rounds Iridized
                          1                         11                             100                      $4.78                               $478.00
                          2                         16                             100                      $4.65                               $465.00
                          3                         28                             100                      $4.65                               $465.00
                          4                         40                             100                      $4.65                               $465.00
                          5                         49                             100                      $5.03                               $503.00
                          6                         53                             100                      $4.65                               $465.00
                          7                         62                             100                      $4.65                               $465.00
                          8                         71                             100                      $5.44                               $544.00
                          9                        105                             100                      $5.03                               $503.00
                         10                        109                             100                     $15.51                             $1,551.00



               25 MM Square - Gloss
                          1                         11                             100                      $2.45                              $245.09
                          2                         13                             100                      $2.32                              $231.95
                          3                         26                             100                      $2.32                              $231.95
                          4                         28                             100                      $2.32                              $231.95
                          5                         35                             100                      $2.32                              $231.95
                          6                         40                             100                      $2.32                              $231.95
                          7                         49                             100                      $2.70                              $270.32
                          8                         53                             100                      $2.32                              $231.95
                          9                         55                             100                      $2.70                              $270.32
                         10                         61                             100                      $2.66                              $265.90
                         11                         62                             100                      $2.32                              $231.95
                         12                         67                             100                      $2.32                              $231.95
                         13                         69                             100                      $2.32                              $231.95
                         14                         71                             100                      $3.11                              $311.33
                         15                         85                             100                      $3.52                              $352.34
                         16                         95                             100                      $2.32                              $231.95
                         17                        105                             100                      $2.70                              $270.32



               25 MM - Iridized
                          1                         11                             100                      $4.78                               $478.00
                          2                         16                             100                      $4.65                               $465.00
                          3                         28                             100                      $4.65                               $465.00
                          4                         40                             100                      $4.65                               $465.00
                          5                         49                             100                      $5.03                               $503.00
                          6                         53                             100                      $4.65                               $465.00
                          7                         62                             100                      $4.65                               $465.00
                          8                         71                             100                      $5.44                               $544.00
                          9                        105                             100                      $5.03                               $503.00
                         10                        109                             100                     $15.51                             $1,551.00
Docusign Envelope ID: D7ADB873-BD36-455E-B70E-CF46FA4F1C2B
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                        Line                      Code                 Order kg             Price per KG                              Total

               eur palette charges                                                  10                     $14.50                                 $145.00
               custom charges                                                                                                                     $250.00
               BANK DETAILS:
               SWIF KODU   : TGBATRİSXXX
               TR97 0006 2001 6740 0009 0740 73
               Bank Details:
               %50 advanced payment
               % 50 before delivery                                                                                                           $40,689.270
                                                                                  (USD) :FOURTYTHOUSANDSIXHUNDREDEIGHTYNINEAND027 /100
                                               YALNIZ :
Docusign Envelope ID: D7ADB873-BD36-455E-B70E-CF46FA4F1C2B
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                                            EXHIBIT 2
Docusign Envelope ID: D7ADB873-BD36-455E-B70E-CF46FA4F1C2B
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                                                           Wire10-1       Filed 05/13/25
                                                                Money - Confirmation | Wells Fargo     Page 174 of 187




     Confirmation



                        You submitted your wire on 01/26/2025 at 09:07 pm Pacific Time.


                                                                                                                           Print or save



                                                         TO BETEBE
                                                              Turkey


                                                     FROM WITSEND CHECKING ...
                                                              Available balance $


                                           EXCHANGE           N/A
                                               RATE


                                                  AMOUNT $16,000.00


                                          WIRE TRANSFER $25.00
                                                    FEE


                                                TAXES         Local taxes may apply


                                              TOTAL FROM $16,025.00
                                                ACCOUNT


                                             SEND ON          01/27/2025




 https://connect.secure.wellsfargo.com/transferandpay/globalpay/transfers/home?_eid=wireMoney_tpMenu&_x=_gNovpHFfOHyrj5BVMYAd24JBLRa2…     1/2
Docusign Envelope ID: D7ADB873-BD36-455E-B70E-CF46FA4F1C2B
 1/26/25, 11:18 PMCase 1:25-cv-00078-3JP            Document
                                                           Wire10-1       Filed 05/13/25
                                                                Money - Confirmation | Wells Fargo     Page 175 of 187
                                          DELIVER BY          01/28/2025


                                       REASON FOR WIRE INVOICE PAYMENT (FOR PHYSICAL
                                                       GOODS PURCHASED)


                                              ADDITIONAL BE001
                                            INFORMATION


                                                    STATUS SCHEDULED


                                          CONFIRMATION OW00005334277592
                                               NUMBER




                                                                                                           Send another wire




 https://connect.secure.wellsfargo.com/transferandpay/globalpay/transfers/home?_eid=wireMoney_tpMenu&_x=_gNovpHFfOHyrj5BVMYAd24JBLRa2…   2/2
Docusign Envelope ID: D7ADB873-BD36-455E-B70E-CF46FA4F1C2B
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                                            EXHIBIT 3
Docusign Envelope ID: D7ADB873-BD36-455E-B70E-CF46FA4F1C2B
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       FATTURA/INVOICE
       Nr. Fattura/Invoice No.                  Data/Date                   Page         Indirizzo Fatturazione/Invoicing Address
       EFV2500328                               30/04/25                    1              WITSEND MOSAIC
       Vs. Ordine/P.O. Ref.                     Vs. Rif/Customer Ref.
                                                                                           KIM WOZNIAK
                                                                                           143 N. ST. AUGUSTINE ST.
                                                                                           54162 PULASKI
       Cod. Cliente/Customer code               Partita IVA/Vat
                                                                                           WI
       C07765                                   99999999999
                                                                                           UNITED STATES
       Agente/Agent                                Area                 Zona/Zone
                                                                                           Tel.               Fax
       NO AGENTE                                   LUCA                 LUCA               E-mail      @witsendmosaic.com
                                                                                         Dealer Code                           Vendor Ref. Code




       Nr.Riga     Nr.Articolo                                                                    Quantità       Prezzo       Sconti     Importo       %IVA VAT
       Line no.    Item No.      Descrizione/Description                             U.M.         Quantity        Price       Disc.%     Amount        Identifier

                                 Shipment No. DDT2500258 dated 30/04/25
                                 Order No. OV2500206 dated 30/04/25
                                 ***CUT A***
       1          O2010A         SMALTO 2010 (201), ORDINARY, CUT A                 Kg                   15          24,45      3             355,75       0
       2          O2020A         SMALTO 2020 (202), ORDINARY, CUT A                 Kg                 14,2          24,45      3             336,77       0
       4          O2060A         SMALTO 2060 (206), ORDINARY, CUT A                 Kg                   13          24,45      3             308,31       0
       5          O2070A         SMALTO 2070 (207), ORDINARY, CUT A                 Kg                   10          24,45      3             237,16       0
       6          O2091A         SMALTO 2091, COMUNE, TAGLIATO A                    Kg                   15          24,45      3             355,75       0
       7          O2110A         SMALTO 2110 (211), ORDINARY, CUT A                 Kg                   11          24,45      3             260,88       0
       8          O2130A         SMALTO 2130 (213), ORDINARY, CUT A                 Kg                   10          24,45      3             237,16       0
       9          O2140A         SMALTO 2140 (214), ORDINARY, CUT A                 Kg                 12,2          24,45      3             289,34       0
       10         O2160A         SMALTO 2160 (216), ORDINARY, CUT A                 Kg                       5       24,45      3             118,58       0
       11         O2180A         SMALTO 2180 (218), ORDINARY, CUT A                 Kg                   13          24,45      3             308,31       0
       12         O2200A         SMALTO 2200 (220), ORDINARY, CUT A                 Kg                       5       24,45      3             118,58       0
       13         O2210A         SMALTO 2210 (221), ORDINARY, CUT A                 Kg                   10          24,45      3             237,16       0
       14         O2220A         SMALTO 2220 (222), ORDINARY, CUT A                 Kg                   10          24,45      3             237,16       0
       15         O2230A         SMALTO 2230 (223), ORDINARY, CUT A                 Kg                   10          24,45      3             237,16       0
       16         O2250A         SMALTO 2250 (225), ORDINARY, CUT A                 Kg                 12,8          24,45      3             303,57       0
       17         O2260A         SMALTO 2260 (226), ORDINARY, CUT A                 Kg                   10          24,45      3             237,16       0
       18         O2270A         SMALTO 2270 (227), ORDINARY, CUT A                 Kg                   13          24,45      3             308,31       0
       19         O2290A         SMALTO 2290 (229), ORDINARY, CUT A                 Kg                   13          24,45      3             308,31       0
       20         O2320A         SMALTO 2320 (232), ORDINARY, CUT A                 Kg                       8       24,45      3             189,73       0
       21         S2580A         SMALTO 2580 (258), SPECIAL, CUT A                  Kg                   20          28,60      3             554,84       0
       22         F2610A         SMALTO 2610 (261), FINE, CUT A                     Kg                   20          24,45      3             474,33       0
       23         F2740A         SMALTO 2740 (274), FINE, CUT A                     Kg                       5       24,45      3             118,58       0
       24         F2780A         SMALTO 2780 (278), FINE, CUT A                     Kg                   20          24,45      3             474,33       0
       25         C2810A         SMALTO 2810 (281), FLESH, CUT A                    Kg                       8       37,20      3             288,67       0
       26         C2820A         SMALTO 2820 (282), FLESH, CUT A                    Kg                   10          37,20      3             360,84       0
       27         C2840A         SMALTO 2840 (284), FLESH, CUT A                    Kg                   10          37,20      3             360,84       0
       28         C2870A         SMALTO 2870 (287), FLESH, CUT A                    Kg                   15          37,20      3             541,26       0
       30         I2910A         SMALTO 2910 (291), IMPERIAL, CUT A                 Kg                   10          31,20      3             302,64       0
       31         I2920A         SMALTO 2920 (292), IMPERIAL, CUT A                 Kg                       5       31,20      3             151,32       0
       32         I2930A         SMALTO 2930 (293), IMPERIAL, CUT A                 Kg                       8       31,20      3             242,11       0
       33         I2940A         SMALTO 2940 (294), IMPERIAL, CUT A                 Kg                       9       31,20      3             272,38       0
       35         I2960A         SMALTO 2960 (296), IMPERIAL, CUT A                 Kg                   15          31,20      3             453,96       0
       36         I2970A         SMALTO 2970 (297), IMPERIAL, CUT A                 Kg                   20          31,20      3             605,28       0
       37         I2980A         SMALTO 2980 (298), IMPERIAL, CUT A                 Kg                   15          31,20      3             453,96       0
       38         I3000A         SMALTO 3000 (300), IMPERIAL, CUT A                 Kg                   15          31,20      3             453,96       0
       39         ARL001         MIXED MOSAIC ALL COLOURS - ARLECCHINO              Kg                   50          17,00                    850,00       0




                                                                                                                                                            ==>
Docusign Envelope ID: D7ADB873-BD36-455E-B70E-CF46FA4F1C2B
                  Case 1:25-cv-00078-3JP                              Document 10-1               Filed 05/13/25                     Page 178 of 187




       FATTURA/INVOICE
       Nr. Fattura/Invoice No.                      Data/Date                           Page            Indirizzo Fatturazione/Invoicing Address
       EFV2500328                                   30/04/25                            2                 WITSEND MOSAIC
       Vs. Ordine/P.O. Ref.                         Vs. Rif/Customer Ref.
                                                                                                          KIM WOZNIAK
                                                                                                          143 N. ST. AUGUSTINE ST.
                                                                                                          54162 PULASKI
       Cod. Cliente/Customer code                   Partita IVA/Vat
                                                                                                          WI
       C07765                                       99999999999
                                                                                                          UNITED STATES
       Agente/Agent                                   Area                      Zona/Zone
                                                                                                          Tel.               Fax
       NO AGENTE                                      LUCA                      LUCA                      E-mail      @witsendmosaic.com
                                                                                                        Dealer Code                           Vendor Ref. Code




       Nr.Riga     Nr.Articolo                                                                                   Quantità         Prezzo     Sconti     Importo          %IVA VAT
       Line no.    Item No.         Descrizione/Description                                        U.M.          Quantity          Price     Disc.%     Amount           Identifier

                                    ***GOLD 1X1***
       69         G001011           GOLD 0010, WHITE SMOOTH (01), 1x1                             Kg                        2       140,00     3             271,60          0
       70         G001111           GOLD 0011, WHITE WAVY, 1x1                                    Kg                        3       145,00     3             421,95          0
       71         G002011           GOLD 0020, CLEAR (02), 1x1                                    Kg                        3       151,00     3             439,41          0
       72         G006011           GOLD 0060, CITRON (06), 1x1                                   Kg                        3       151,00     3             439,41          0
       73         G007011           GOLD 0070, CITRON (07), 1x1                                   Kg                        4       151,00     3             585,88          0
       74         G008011           GOLD 0080, CITRON (08) 1x1                                    Kg                        6       151,00     3             878,82          0
       75         G009011           GOLD 0090, CITRON (09), 1x1                                   Kg                        8       151,00     3           1.171,76          0
       76         G010011           GOLD 0100, NATURAL SMOOTH (010), 1x1                          Kg                        8       140,00     3           1.086,40          0
       77         G014011           GOLD 0140, COPPER (014), 1x1                                  Kg                        3       157,00     3             456,87          0
       78         G016011           GOLD 0160, COPPER (016), 1x1                                  Kg                        5       157,00     3             761,45          0
       79         G017011           GOLD 0170, COPPER (017), 1x1                                  Kg                        4       157,00     3             609,16          0
       80         G010111           GOLD 0101, NATURAL WAVY (018), 1x1                            Kg                        6       145,00     3             843,90          0
       81         GZMISTIA          SPIZZI MISTI                                                  Kg                    10           50,00                   500,00          0
                                    ***ROTTI MIXES***
       101        ROTTIA            SMALTI ROTTI BLUE                                             Kg                    15            8,00                   120,00          0
       102        ROTTIA            SMALTI ROTTI BLACK/GREY/WHITE                                 Kg                    20            8,00                   160,00          0
       103        ROTTIA            SMALTI ROTTI FLESHTONES                                       Kg                    20            8,00                   160,00          0
       104        ROTTIA            SMALTI ROTTI GREEN                                            Kg                    20            8,00                   160,00          0
       105        ROTTIA            SMALTI ROTTI RAINBOW                                          Kg                    20            8,00                   160,00          0
       106        ROTTIA            SMALTI ROTTI RED                                              Kg                    10            8,00                       80,00       0
                                    .
                  SOVRAPP           OVERCHARGE 11,92% DUE TO ENERGY COST INCREASE                 No.                       1     2.533,12                 2.533,12          0
                  60402004000       SHIPPING CHARGE                                               No.                       1     2.200,00                 2.200,00          0
                                    TOTAL NO 2 PALLET
                                    GROSS WEIGHT 670 KGS
                                    NET WEIGHT 635,2 KGS
                            ***** OPERAZIONE NON IMPONIBILE - Goods of italian origin


                                    *****
                                    70161000        Tessere mosaico e smalti/Glass Mosaic Tiles           EUR         25.984,18
Docusign Envelope ID: D7ADB873-BD36-455E-B70E-CF46FA4F1C2B
                 Case 1:25-cv-00078-3JP                            Document 10-1               Filed 05/13/25                     Page 179 of 187




       FATTURA/INVOICE
       Nr. Fattura/Invoice No.                   Data/Date                      Page                 Indirizzo Fatturazione/Invoicing Address
       EFV2500328                                30/04/25                       3                      WITSEND MOSAIC
       Vs. Ordine/P.O. Ref.                      Vs. Rif/Customer Ref.
                                                                                                       KIM WOZNIAK
                                                                                                       143 N. ST. AUGUSTINE ST.
                                                                                                       54162 PULASKI
       Cod. Cliente/Customer code                Partita IVA/Vat
                                                                                                       WI
       C07765                                    99999999999
                                                                                                       UNITED STATES
       Agente/Agent                                 Area                   Zona/Zone
                                                                                                       Tel.               Fax
       NO AGENTE                                    LUCA                   LUCA                        E-mail      @witsendmosaic.com
                                                                                                     Dealer Code                           Vendor Ref. Code




                                                                    *** Contributo CONAI assolto ove dovuto ***
                            Gross Amount                      Discount                 Totale Imponibile/VAT Base Amount                          Totale Imposta/VAT Amount
                          25.984,18 EUR                      0,00 EUR                                      25.984,18 EUR                                          0,00 EUR
         Cod. IVA/VAT                                                         Imponibile/VAT Base
                                         Descrizione/Description                                         Imposta/VAT Amount
           Identifier                                                              Amount
        NI8A                   Non imp. Art. 8a DPR 633/72                               25.984,18                         0,00




                                                                                                                                            Totale Fattura / Total Invoice

                                                                                                                                                          25.984,18 EUR
       Pagamento/Payment                                                               Decorrenza/Due from                                          Sconto Fatt. / Invoice Disc.
       Bank Transfer                                                                   IN ADVANCE
       Resa merce secondo Incoterms 2020 / Delivery as per Incoterms 2020
       Carriage and Insurance Paid To
       Destinatario/Customer                                                    Committente/Buyer
       WITSEND MOSAIC                                                           WITSEND MOSAIC
       Banca di Appoggio/Support Bank                                           Ns. Banca d'appoggio/Bank details
                                                                                INTESA SANPAOLO SPA C/C IBAN:
       Scadenze/Expiry Date                                                     ABI: 03069 CAB: 11884 CC:                                       Swift: BCITITMM
       30/04/25: 25.984,18
Docusign Envelope ID: D7ADB873-BD36-455E-B70E-CF46FA4F1C2B
                Case 1:25-cv-00078-3JP            Document 10-1   Filed 05/13/25   Page 180 of 187




                                            EXHIBIT 4
Docusign Envelope ID: D7ADB873-BD36-455E-B70E-CF46FA4F1C2B
               Case 1:25-cv-00078-3JP                  Document 10-1              Filed 05/13/25           Page 181 of 187


                                Recipients may receive less due to fees charged by the recipients bank and foreign taxes.




  Combined disclosure

  Quote generated                                                    Funds available
  April 21, 2025 15:49:14 EDT                                        April 26, 2025 (may be available sooner)


  Transfer                                                           Membership
  #1506589362




  Your details

  Name                                                               Address
  Reclamation Studios LLC                                            143 N. St. Augustine St.
                                                                     Pulaski, 54162
                                                                     Wisconsin, United States




  Transfer overview

  Amount paid by Reclamation Studios LLC                             Transfer fees
  23,141.80 USD                                                      Payment method 39.27 USD
                                                                     Conversion 67.69 USD


                                                                     Total 106.96 USD


  Transfer amount                                                    Exchange rate
  23,034.84 USD                                                      1 USD = 0.8683 EUR


  Total to Orsoni Venezia 1888 SpA
  20,000.00 EUR




  Wise US Inc. is a licensed money transmitter in Wisconsin (NMLS ID: 1351219), with address at 30 W 26th St, New York, NY 10010. If you
  need any help, please go to our Help Center at www.wise.com/help.

                                                                                                                                           Page 1 of 3
Docusign Envelope ID: D7ADB873-BD36-455E-B70E-CF46FA4F1C2B
               Case 1:25-cv-00078-3JP                  Document 10-1              Filed 05/13/25           Page 182 of 187


                                Recipients may receive less due to fees charged by the recipients bank and foreign taxes.




  Sent to

  Name                                                               Reference
  Orsoni Venezia 1888 SpA                                            No. OV2500206-1/008


  Account details                                                    Address
  INTESA SANPAOLO SPA                                                Cannaregio 1045
                                                                     Venice, 30121
  BCITITMMXXX                                                        Italy




  Wise US Inc. is a licensed money transmitter in Wisconsin (NMLS ID: 1351219), with address at 30 W 26th St, New York, NY 10010. If you
  need any help, please go to our Help Center at www.wise.com/help.

                                                                                                                                           Page 2 of 3
Docusign Envelope ID: D7ADB873-BD36-455E-B70E-CF46FA4F1C2B
               Case 1:25-cv-00078-3JP                  Document 10-1              Filed 05/13/25           Page 183 of 187


                                Recipients may receive less due to fees charged by the recipients bank and foreign taxes.




  Disclaimer

  Cancellations and Disputes
  If your transaction’s underway, you can cancel it, for a full refund, up to 30 minutes after you’ve paid — unless the
  money’s already been paid out. If you scheduled your transaction in advance, you can cancel up to one day before it’
  s supposed to go through.
  You have a right to dispute errors in your transaction. If there was an error with your transaction, please reach out to
  customer service at +1 844 926 4380 within 180 days. After that, we won't be able to help. You can contact us for a
  written explanation of your rights.



  Consumer Protection
  For questions or complaints about Wise US Inc., you may contact:
  Wisconsin Department of Financial Institutions
  Ph: (608) 2617578
  http://www.wdfi.org/


  Consumer Financial Protection Bureau
  855-411-2372
  855-729-2372 (TTY/TDD)
  http://www.consumerfinance.gov/




  Proof of payment

  Transfer authorized                                                Transfer funded
  April 21, 2025 15:50:41 EDT                                        April 21, 2025 15:50:29 EDT


  Transfer number
  #1506589362




  Wise US Inc. is a licensed money transmitter in Wisconsin (NMLS ID: 1351219), with address at 30 W 26th St, New York, NY 10010. If you
  need any help, please go to our Help Center at www.wise.com/help.

                                                                                                                                           Page 3 of 3
Docusign Envelope ID: D7ADB873-BD36-455E-B70E-CF46FA4F1C2B
                Case 1:25-cv-00078-3JP            Document 10-1   Filed 05/13/25   Page 184 of 187




                                            EXHIBIT 5
Docusign Envelope ID: D7ADB873-BD36-455E-B70E-CF46FA4F1C2B
                     Case 1:25-cv-00078-3JP                                     Document 10-1                      Filed 05/13/25                     Page 185 of 187
                                                                                MARUMAN SHOKAI CO., LTD.
                                            3162-4 Kasahara-cho Tajimi-city Gifu 507-0901 Japan TEL : +81-XXX-XX-XXXX FAX : +81-XXX-XX-XXXX
                                                                maruman2@tile-maruman.co.jp     https://tile-maruman.com


      No.B-20250418-R1
                                                                              PROFORMA INVOICE                                                                   Date: April 24, 2025
   MESSRS.                                                                                                                               VESSEL                           -
   Wits End Mosaic                                 Phone: (                                                                          PORT OF LOADING      NAGOYA, JAPAN
   143 N. St. Augustine Street                     Fax: (920)822-1108                                                                PORT OF DELIVERY     LOS ANGELES, CA
   Pulaski , WI 54162 USA                          Toll Free:                                                                         DESTINATION         MILWAUKEE CFS, WI, USA


   Please kindly confirm terms and conditions below.
   Delivery Term:             FOB Nagoya
   Shipment :                 Load on Nagoya port around end of May.
   Terms of Payment :         TT advance 100% before shipment.
   Insurance :                NOT INCLUDED
   NOTE
   1, These tiles have natural color shading inherent in kiln firing.
   2, If quantity is increased after PO, ETD may be delayed.
   3, Quantity reduction after PO is subject to Cancellation Charge; 90% of the total amount.
   4,This contract is governed by INCOTERMS 2020.
                                                            DESCRIPTION: Glazed ceramic tiles made in Japan, water absorption less than 3%.

                                 Micro Mosaic, GLAZED MOSAIC TILES
          Wits End               3/8" x 3/8" (10x10mm), 4mm thick (Loose)
                                 1 box = approx. 44.0lbs (20kg) = approx. 21,875 pcs / 22.6 sqf / 2.1 sqm
         B-20250418
         Los Angeles             Micro Dots, GLAZED MOSAIC TILES
        Made In Japan            3/8" Round(10mm), 4mm thick, Circle mosaic 11 colors mix (Loose)
          P/NO. 1-5              1 box = approx. 34.6 lbs (15.7kg) = approx. 21,875 pcs / 18.3 sqf / 1.7 sqm
                                 10 colors(25B,4E,5D,10D,11B,20B,30A,30C,30D,30E) are around 9.5% each and black is around 5 %(20A).

                                 Basics(PITTORE), GLAZED MOSAIC TILES
                                 1"x1" (25x25mm), 6mm thick (Loose)
                                 1 box = approx. 55.0 lbs (25kg) = approx. 3,025 pcs / 19.3 sqf / 1.8 sqm


                                 HEART, GLAZED MOSAIC TILES
                                 13/16"x13/16" (23x23mm), 4mm thick (Loose)
                                 1 box = approx. 44.0lbs (20kg) = approx. 6,000 pcs / 33.4 sqf / 3.1 sqm
                                 9 colors even mixed(2C,3C,4D,5D,10C,10B,20A,20B,25E)


                                 RECTANGLES, GLAZED MOSAIC TILES
                                 1/4" x 1" (7x27mm), 4mm thick (Loose)
                                 1 box = approx. 48.4 lbs (22 kg) = approx.10,800pcs / 21.5 sqf / 2.0 sqm


                                 Eclipse, GLAZED MOSAIC TILES
                                 11/16" x 3-3/8" (17x60mm), 6mm thick (Loose)
                                 1 box = approx. 44.0 lbs (20kg) = approx. 2,000pcs / 21.5 sqf /2.0 sqm


                                 Stella, GLAZED MOSAIC TILES
                                 1-7/64" x 1-17/64" (28x32mm), 6mm thick (Loose)
                                 1 box = approx. 44.0 lbs (20kg) = approx. 3,080 pcs / 29.1 sqf / 2.7 sqm
                                 Single color only. Not mixed.
                                 Some chipped pieces may be found due to the sharp edges, we will add 3%(or approx. 1kg gross) to 20kg.(total 21kg)


                                 Asanoha, GLAZED MOSAIC TILES
                                 1-3/4"x9/16"(45x14mm), 6mm thick (Loose)
                                 1 box = approx. 44.0lbs (20kg) / 28 sh / 4,032 pcs / 26 sqf / 2.3 sqm


                                 Flower, GLAZED MOSAIC TILES
                                 1/2"x1/2" (14 x 14mm) (Loose)
                                 1 box = Approx :44.0lbs (20kg) = approx. 14,400 pcs / 30.3 sqf / 2.8 sqm
                                 9 colors mix (10R, 11L, 12F, 13G, 14Y, 15H, 20A, 20B, 30C)

                                 Pebble-stone, GLAZED MOSAIC TILES
                                 4 sizes: Approx. 9/16" (15mm), 3/4" (20mm), 1-1/8" (30mm), 1-3/4" (45mm). 5mm thick(Loose)
                                 1 box = Approx. 44.0lbs (20kg) / 19.7 sqf / 1.99 sqm
Docusign Envelope ID: D7ADB873-BD36-455E-B70E-CF46FA4F1C2B
               Case 1:25-cv-00078-3JP                    Document 10-1                   Filed 05/13/25           Page 186 of 187
                                              WE Color                            Maruman Color     Quantity     Weight       Price
     P/NO.   Box No.       Product                         WE Color Name                                                               Amount price
                                               Code                                   Code        (BOX or SHT)    (kg)        (Box)

               1-5     Micro Mosaic   01                  White              B20                     5 BOX         100.0 kg   $134.0           $670.0
               6-7     Micro Mosaic   02                  Off White          B4                      2 BOX          40.0 kg   $134.0           $268.0
               8-9     Micro Mosaic   3                   Cream              A3                      2 BOX          40.0 kg   $134.0           $268.0
              10-13    Micro Mosaic   101                 Dk. Brown          E13                     4 BOX          80.0 kg   $153.0           $612.0
               14      Micro Mosaic   102-A               Lt.Tan             C16                     1 BOX          20.0 kg   $134.0           $134.0
              15-16    Micro Mosaic   102-C               Lt.Brown           E16                     2 BOX          40.0 kg   $153.0           $306.0
              17-18    Micro Mosaic   105                 Russet Gold        E3                      2 BOX          40.0 kg   $153.0           $306.0
              19-20    Micro Mosaic   107                 Salmon             E22                     2 BOX          40.0 kg   $240.0           $480.0
              21-22    Micro Mosaic   108                 Olive Green        A22                     2 BOX          40.0 kg   $134.0           $268.0
              23-25    Micro Mosaic   200                 Red                30C                     3 BOX          60.0 kg   $240.0           $720.0
               26      Micro Mosaic   202-B               Maroon             E2                      1 BOX          20.0 kg   $153.0           $153.0
               27      Micro Mosaic   203-A               Blush              A2                      1 BOX          20.0 kg   $134.0           $134.0
       1
               28      Micro Mosaic   203-C               Pink               C2                      1 BOX          20.0 kg   $134.0           $134.0
               29      Micro Mosaic   204-B               Peach              C3                      1 BOX          20.0 kg   $134.0           $134.0
               30      Micro Mosaic   240                 Pale Apricot       B24                     1 BOX          20.0 kg   $134.0           $134.0
              31-32    Micro Mosaic   241                 Apricot            C24                     2 BOX          40.0 kg   $134.0           $268.0
              33-34    Micro Mosaic   242                 Light Tangerine    D24                     2 BOX          40.0 kg   $195.0           $390.0
              35-36    Micro Mosaic   243                 Tangerine          E24                     2 BOX          40.0 kg   $240.0           $480.0
              37-38    Micro Mosaic   250                 Pink Lemonade      B25                     2 BOX          40.0 kg   $134.0           $268.0
              39-40    Micro Mosaic   251                 Strawberry Ice     C25                     2 BOX          40.0 kg   $134.0           $268.0
               41      Micro Mosaic   252                 Medium Cranberry   D25                     1 BOX          20.0 kg   $195.0           $195.0
               42      Micro Mosaic   253                 Cranberry          E25                     1 BOX          20.0 kg   $240.0           $240.0
              43-44    Micro Mosaic   300                 Purple             E1                      2 BOX          40.0 kg   $153.0           $306.0
               45      Micro Mosaic   301                 Grape              D1                      1 BOX          20.0 kg   $153.0           $153.0
               46      Micro Mosaic   301                 Grape              D1                      1 BOX          20.0 kg   $153.0           $153.0
               47      Micro Mosaic   302-A               Pale Lavender      B1                      1 BOX          20.0 kg   $134.0           $134.0
              48-49    Micro Mosaic   303                 Dk. Periwinkle     D10                     2 BOX          40.0 kg   $153.0           $306.0
              50-51    Micro Mosaic   304-A               Pale Periwinkle    B10                     2 BOX          40.0 kg   $134.0           $268.0
              52-53    Micro Mosaic   304-B               Lt. Peri.          C10                     2 BOX          40.0 kg   $153.0           $306.0
              54-57    Micro Mosaic   400                 Cobalt             E10                     4 BOX          80.0 kg   $153.0           $612.0
              58-59    Micro Mosaic   401                 Dk. Blue           E8                      2 BOX          40.0 kg   $153.0           $306.0
              60-61    Micro Mosaic   402                 Lt.Blue            B11                     2 BOX          40.0 kg   $134.0           $268.0
              62-63    Micro Mosaic   403-A               Lt. Turquoise      C11                     2 BOX          40.0 kg   $153.0           $306.0
              64-65    Micro Mosaic   403-B               Dk. Turquoise      E11                     2 BOX          40.0 kg   $153.0           $306.0
              66-67    Micro Mosaic   404                 Powder Blue        A11                     2 BOX          40.0 kg   $134.0           $268.0
       2      68-69    Micro Mosaic   501-B               Dk. Teal           E9                      2 BOX          40.0 kg   $153.0           $306.0
              70-71    Micro Mosaic   502-A               Pale Teal          A9                      2 BOX          40.0 kg   $134.0           $268.0
               72      Micro Mosaic   502-B               Lt. Teal           C9                      1 BOX          20.0 kg   $134.0           $134.0
              73-74    Micro Mosaic   601                 Leaf Green         E5                      2 BOX          40.0 kg   $153.0           $306.0
              75-76    Micro Mosaic   602-B               Lt. Lime           D5                      2 BOX          40.0 kg   $153.0           $306.0
              77-78    Micro Mosaic   603                 Dk.Green           E6                      2 BOX          40.0 kg   $153.0           $306.0
              79-80    Micro Mosaic   605                 Dk.Seafoam         E12                     2 BOX          40.0 kg   $153.0           $306.0
              81-82    Micro Mosaic   607                 Moss Grn           D6                      2 BOX          40.0 kg   $153.0           $306.0
               83      Micro Mosaic   608                 Med. Seafoam       D12                     1 BOX          20.0 kg   $153.0           $153.0
              84-85    Micro Mosaic   610                 Pale Seafoam       B12                     2 BOX          40.0 kg   $134.0           $268.0
              86-87    Micro Mosaic   612                 Lt. Moss           C6                      2 BOX          40.0 kg   $134.0           $268.0
              88-90    Micro Mosaic   700                 Yellow             30A                     3 BOX          60.0 kg   $240.0           $720.0
              91-92    Micro Mosaic   702-B               Med.Yellow         D4                      2 BOX          40.0 kg   $153.0           $306.0
               93      Micro Mosaic   702-C               Dk.Yellow          E4                      1 BOX          20.0 kg   $153.0           $153.0
               94      Micro Mosaic   702-C               Dk.Yellow          E4                      1 BOX          20.0 kg   $153.0           $153.0
              95-96    Micro Mosaic   801                 Charcoal           DE7                     2 BOX          40.0 kg   $153.0           $306.0
              97-98    Micro Mosaic   802                 Lt Ash             A13                     2 BOX          40.0 kg   $134.0           $268.0
             99-101    Micro Mosaic   901                 Black              A20                     3 BOX          60.0 kg   $153.0           $459.0
             102-103   Micro Mosaic   902-A               Lt. Grey           C7                      2 BOX          40.0 kg   $134.0           $268.0
               104     Micro Mosaic   902-B               Med. Grey          D7                      1 BOX          20.0 kg   $153.0           $153.0
             105-106   Micro Mosaic   903                 Pale Grey          A7                      2 BOX          40.0 kg   $134.0           $268.0
             107-110   Rectangles     RC-1                White              REC-B20                 4 BOX          88.0 kg   $138.0           $552.0
       3
             111-114   Rectangles     RC-10               Black              REC-A20                 4 BOX          88.0 kg   $138.0           $552.0
             115-117   Rectangles     RC-20               Cobalt             REC-E10                 3 BOX          66.0 kg   $138.0           $414.0
               118     Rectangles     RC-30               Maroon             REC-E2                  1 BOX          22.0 kg   $155.0           $155.0
             119-121   Rectangles     RC-40               Dark Green         REC-A22                 3 BOX          66.0 kg   $138.0           $414.0
             122-123   Rectangles     RC-50               Toffee             REC-E3                  2 BOX          44.0 kg   $138.0           $276.0
             124-125   Rectangles     RC-60               Dk Yellow          REC-E4                  2 BOX          44.0 kg   $155.0           $310.0
             126-127   Rectangles     RC-70               Dk Periwinlke      REC-D10                 2 BOX          44.0 kg   $138.0           $276.0
Docusign Envelope ID: D7ADB873-BD36-455E-B70E-CF46FA4F1C2B
              Case 1:25-cv-00078-3JP                     Document 10-1                        Filed 05/13/25     Page 187 of 187
             128-129   Rectangles       RC-80              Dk Turquoise         REC-E11                  2 BOX     44.0 kg   $155.0       $310.0
             130-133   Rectangles       RC-90              Dk Brown             REC-E13                  4 BOX     88.0 kg   $138.0       $552.0
             134-135   Micro Dots       Micro Dots         11 colors mix        Dots Mix                 2 BOX     31.4 kg   $210.0       $420.0
              136      Micro Dots       Micro Dots         11 colors mix        Dots Mix                 1 BOX     15.7 kg   $210.0       $210.0
             137-139   Heart            MH04               Heart Shaped Tile Mix Heart Shaped Tile Mix   3 BOX     60.0 kg   $168.0       $504.0
             140-142   Heart            redheart           Red Hearts           Red Hearts               3 BOX     60.0 kg   $226.0       $678.0
             143-144   1/2" Flowers     1/2" Flowers       1/2" Mixed Flower    9 color mix              2 BOX     40.0 kg   $218.0       $436.0
             145-147   Basics/Pittore   P-1                White                P-1                      3 BOX     75.0 kg   $115.0       $345.0
              148      Basics/Pittore   P3                 Pink                 H-1                      1 BOX     25.0 kg   $115.0       $115.0
              149      Basics/Pittore   P5                 Light Blue           E-2                      1 BOX     25.0 kg   $115.0       $115.0
             150-152   Basics/Pittore   P6                 Colbalt              Q-1                      3 BOX     75.0 kg   $123.0       $369.0
              153      Basics/Pittore   P7                 Periwinkle           F-3                      1 BOX     25.0 kg   $123.0       $123.0
              154      Basics/Pittore   P8                 Purple               G-3                      1 BOX     25.0 kg   $129.0       $129.0
             155-157   Basics/Pittore   P9                 Sun Yellow           164                      3 BOX     75.0 kg   $225.0       $675.0
             158-160   Basics/Pittore   P10                Red                  163                      3 BOX     75.0 kg   $225.0       $675.0
      4      161-162   Basics/Pittore   P11                Black                P-2                      2 BOX     50.0 kg   $115.0       $230.0
              163      Basics/Pittore   P12                Brown                J-3                      1 BOX     25.0 kg   $123.0       $123.0
              164      Basics/Pittore   P13C               Dark Seafoam         D-3                      1 BOX     25.0 kg   $123.0       $123.0
             165-167   Basics/Pittore   P41                Light Avacado        C-2                      3 BOX     75.0 kg   $115.0       $345.0
             168-169   Basics/Pittore   P61                Medium Green         L-2                      2 BOX     50.0 kg   $115.0       $230.0
              170      Basics/Pittore   P81                Lavender             G-2                      1 BOX     25.0 kg   $123.0       $123.0
              171      Basics/Pittore   P91                Medium Yellow        B-3                      1 BOX     25.0 kg   $123.0       $123.0
              172      Eclipse          EC-10              Matte White          ME-1                     1 BOX     20.0 kg   $110.0       $110.0
              173      Eclipse          EC-20              Matte Yellow         ME-9                     1 BOX     20.0 kg   $110.0       $110.0
             174-175   Eclipse          EC-30              Matte Pink           ME-8                     2 BOX     40.0 kg   $110.0       $220.0
              176      Eclipse          EC-40              Matte Black          ME-7                     1 BOX     20.0 kg   $110.0       $110.0
             177-178   Eclipse          EC-50              Aquamarine           ME-5                     2 BOX     40.0 kg   $110.0       $220.0
             179-180   Eclipse          EC-60              Copper Metallic      ME-6                     2 BOX     40.0 kg   $110.0       $220.0
              181      Eclipse          EC-60              Copper Metallic      ME-6                     1 BOX     20.0 kg   $110.0       $110.0
              182      Stella           ST-01              White                Stella-01                1 BOX     20.0 kg   $286.0       $286.0
              183      Stella           ST-03              Light Blue           Stella-03                1 BOX     20.0 kg   $286.0       $286.0
             184-185   Stella           ST-04              Dark Blue            Stella-04                2 BOX     40.0 kg   $286.0       $572.0
              186      Stella           ST-05              Lime Green           Stella-05                1 BOX     20.0 kg   $286.0       $286.0
             187-188   Stella           ST-07              Yellow               Stella-07                2 BOX     40.0 kg   $286.0       $572.0
              189      Stella           ST-09              Lavender             Stella-09                1 BOX     20.0 kg   $286.0       $286.0
              190      Stella           ST-11              Pink                 Stella-11                1 BOX     20.0 kg   $286.0       $286.0
              191      Stella           ST-12              Orange               Stella-12                1 BOX     20.0 kg   $286.0       $286.0
              192      Stella           ST-13              Red                  Stella-13                1 BOX     20.0 kg   $286.0       $286.0
              193      Asanoha          FRO-001            White                FRO-001                  1 BOX     20.0 kg   $207.0       $207.0
             194-195   Asanoha          FRO-002            Black                FRO-002                  2 BOX     40.0 kg   $207.0       $414.0
      5
              196      Asanoha          FRO-006(A)         Yellow               FRO-006(A)               1 BOX     20.0 kg   $250.0       $250.0
              197      Asanoha          FRO-008(A)         Pink                 FRO-008(A)               1 BOX     20.0 kg   $250.0       $250.0
              198      Asanoha          FRO-009(A)         Lime Green           FRO-009(A)               1 BOX     20.0 kg   $250.0       $250.0
              199      Asanoha          FRO-011(A)         Light Blue           FRO-011(A)               1 BOX     20.0 kg   $250.0       $250.0
              200      Asanoha          FRO-012(A)         Dark Blue            FRO-012(A)               1 BOX     20.0 kg   $250.0       $250.0
              201      Asanoha          FRO-014(A)         Purple               FRO-014(A)               1 BOX     20.0 kg   $250.0       $250.0
             202-204   Pebble-stone     PEB-10                                  PEB-10                   3 BOX     60.0 kg   $100.0       $300.0
             205-209   Pebble-stone     PEB-17                                  PEB-17                   5 BOX    100.0 kg   $100.0       $500.0
             210-214   Pebble-stone     PEB-21                                  PEB-21                   5 BOX    100.0 kg   $100.0       $500.0
             215-219   Pebble-stone     PEB-38                                  PEB-38                   5 BOX    100.0 kg   $100.0       $500.0
             220-222   Pebble-stone     PEB-101                                 PEB-101                  3 BOX     60.0 kg   $100.0       $300.0
             223-225   Pebble-stone     PEB-15                                  PEB-15                   3 BOX     60.0 kg   $115.0       $345.0
    TOTAL                                              5 PLT / 225 BOX /4674.1 KG(NET WEIGHT)                                           $35,217.0


                                                                                FOB cost: FOB Nagoya 5 PLT                            US$692.0
                                                                                TOTAL(Product amount price + FOB cost)                US$35,909
